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United States of America

United States of America

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VS

Steven E. Edwards
Defendant/Respondent(s)

This is definitely a Civil Rights Complaint pursuant to 28 llSC § 1331 to
upgrade what Steven E. Edwards has already did in the Umted States
Court of Federal Clairns in January 2014 or before No. l3»97l C.

Steven E. Edwards absolutely believes the United States of Arnerica has to go by the
same laws as l do.

Since I have been out of prison l have had a very long meeting with Branch Chief Public
Defender Torn Bartee in Kansas City, Kansas and verbal conversations with Eric Placke Public
Defender in Greensboro, North Carolina. They both agreed on every accusations l have included
in this Civil Rights Complaint. This is different, isn’t it?

The last trial date in Winston-Salem, North Carolina was June 24, 2015 Docket No.
7329~10 the two Marshals that set with me on the opposite side of the 30 or more Government
employees on the other side, the Marshals told me once the trial was over, I just won and the
United States of America owes me a lot of interest plus the money and assets the vaemment
took from me.

There is strictly a lot of serious accusations that need to be corrected for Steven E.

Edwards 14975031. Because every accusation is proven by Government Documents that are

attached to this complaint

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A very serious response l got from the Magistrate Judge Joi Elizabeth Peake on or around

2/19/13 in regard to my Motions l filed in Docket l:05CR265-1 and 1112CV419. l-Ier

recommendation proves a lot, it says on pages 4-5 of her Order. “The Motions challenge

Edwards conviction, his sentencing calculation, and the amount of restitution included in the
Judgement based on information in the lndictment, Presentence Investigation Reports, Factual
Basis, Plea Agreement, and from the United States Tax Courts. In addition, the Motions include
arguments that Edwards should have been evaluated for hearing and memory loss prior to
pleading guilty, that prior rulings by the United States Bankruptcy Courts invalidate most of his
charges, that Counts 2 through 18 against him should have been dismissed because they were
related to Count 1, which was dismissed, and that he did not commit the predicate acts
supporting Counts 8 and 14. All of Edwards’s arguments appear to constitute attacks on the
Judgement in his criminal case.” Attachment 1. Why doesn’t a very positive Magistrate Judge
have the power from the United State Government to correct arguments appear to constitute
attacks from an inmate

After a very interesting conversation With a United States of America Deparunent of
Treasury attorney on January 30, 2017 this response really needs to be read. Because every Word
I’m putting in this is also proven in the United States of Arnerica Documents;

What the United States District Court in the Middle Distn`ct of North Carolina Judge
Osteen approved and put in my Judgement in a Criminal Case dated 6~26-2006 between the
United States of America v Steven E. Edwards is amazing. Now just read Page l in regard to my
dismissed Counts l, 2, 3, 4, 5, 6, 7, 9, 10, ll, 12, 13, 15, 16, 17, 19, and 21 which really means
the United States of Arnerica didn’t have any proof l did any of the charges or they would have

never dismissed them, this alone means they never existed. Also read Page 5 there’s two little

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` ` ` ll
restitution amount must come from, September 13, 1994 through April 24, 1996.Th1s rs rea y

very clear.

ln my Presentence investigation RepOrtjqu read Pamgwph 93 911 Page 20 in regard to
my restitution amount again. On Paragraph 32 and 34 on Page 10 it proves how the United States
of America District Court raised my Oftice Level, which was done illegally. Paragraphs 81 and
82 on Page 18 and 19 definitely proves in regard to the money and assets the United States of
America took from me the only Way the United States of America can keep my aggregate
amounts must come from my Grand Jury lndictment convictions and the only contract l have
with the United States of America, my Plea Agreement Contract.

ln my Plea Agreement on Page 5 Paragraph 5 it says this is the plea bargaining and the
extent in this case is as follows Also read Paragraph 2 on Page 2 in regards to my forfeiture
allegations and where it must come from, the Grand Jury lndictment. Go on to Paragraphs 2d and
2e on Page 3 where all my restitution amount must come from. On Paragraph 5a on Page 5 it
proves what my convictions were and what counts l, 2, 3, 4, 5, 6, 7, 9, 10, ll, 12, 13, 15, 16, 17,

19, and 21 never existed. Paragraph 6, 6a and Line l on Page 6 proves in regard to how the

United States of American can keep any of my aggregate amount Then Paragraph 9 on Page 8

and 9 is the United States of America law that must be honored
Now, read my four Counts 8, 14, 18, and 20. My only convictions l excepted from the

United States of America which prove what all of my criminal violations add up to be.

Read John Bourlons response on my behalf in order to reply to Motion Under 28 U.S.C.

§ 2255 on Pages 2 and 3 Paragraphs l, 2, 3, and 4. Under law l should have been evaluated prior

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to my Plea Agreement Contract was signed on February 21, 2006. Whoever reads this response

can never disagree legally with this paragraph

l believe this paragraph is the law, all whoever is reading this just has to read the Order
that came from the United States of America Tax Court Special Judge Robert N. Armen .lr. on
June 12, 2013. Especially read Paragraph 3 on Pages l and 2 and the final paragraph on Page 2.
This Order is real clear and definitely related to my Plea Agreement on Pages 8 and 9 in
Paragraph 9 and my Presentence lnvestigation Report on Page 20 Paragraph 93. All of these
Paragraphs prove l don’t owe the United States of America or anybody else any amount of
money except what’s in Counts 8 and 14.

Now it’s going to get real interesting to you from this point on in regard to my response
ln my Grand Jury lndictment on Pages 41 and 42 Paragraphs l, 2, 3, and 4 it proves Where my `
forfeiture allegations must come from to justify the United States of America to keep any amount
of money nom my aggregate amount Until someone can prove to me from United States of
America laws, I will always believe all of my criminal violations must come from my Grand
Jury Indictment Counts 8, 14, 18, and 20 my only criminal violations according to my only
contract l have with the United States of American the Plea Agreement Bargaining Contract. By
now you do know Count l was dismissed which l believe means Count l never existed. Now
read the first paragraph in Counts 8, 14, and 18. l believe legally these three counts should have

been dismissed

Read the last Paragraph 31 on Page 20 in my Grand Jury Indictment that prove what

Count l forfeiture allegation maximum it can be $8,601.48.

What the Department of Treasury attorney really should read in my Factual Basis Dated

February 2l, 2006 the clay my Plea Agreement Contract was also finalized Just read Pages 4 & 5

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about Count 20. Who their attorney is with is the United States of America then the lm€r!lal
Revenue Service or Treasury Department. Which means he needs to read Count 20 in my F actual
Basis because it says the $4,646,717 taxable income and additional taxes of $1,944,392 was
derived from the IRS. As of today the attorney or the IRS involved in my case has still not
proven l owe this amount or how the I_RS came up with these numbers. When l started
questioning all of these numbers that I supposedly owed the IRS and companies, but the Middle
Distn`ct Court new Judge in my case because Jude Osteen retired. The new Judge Schroeder
ordered the IRS to prove l owe the money the United States of America put in my restitution
amount T he audit the IRS did for Judge Schroeder isn’t even close to the restitution amount of
$2,105,820 with no Fraud amount involved. The meeting l had with the IRS attorney on
December 4, 2014 in a meeting he told me the IRS couldn’t go back and audit me more than 3
years from my Grand Jury lndictment which was dated July 26, 2005. He also told me the civil
litigation amount can’t come from my Grand Jury lndictrnent. Now read Pages 5, 6, and 7 in my
Factual Basis. This proves the amount the IRS attorney came up with definitely came from my
Grand Jury Indictment Count 20. All you have to do to prove this is read my Factual Basis.
Read my Criminal Docket where it says where my restitution amounts can come from
Counts 8, 14, and 18 but What the United States of America has already done was all done
illegally because my convictions Count 8, 14, and 18 doesn’t add up to be $4,565,477.70. Counts
8, 14, and 18 only comes up to be a restitution amount of $150,829.73 which is really weird
because that only reduces my aggregate amount down to $2,500,000 plus interest and assets
Now even if I allow the United States of America to use my Presentence Investigation Report to
reduce my aggregate amount by $1,522,736.90 the United States of America still owes me a lot

Of money.

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l’m getting close to finalize this response, the United States of America or the Justice
Department should have made sure the Middle District Court used the correct Code 2Fl.l for my
sentencing not Code 2El .1 Because all of my convictions occurred prior to November 21, 2001.
Look this information up.

You also need to know Magna Corporation and Fidelity Group was both granted their
Bankruptcy way before my Grand Jury Indictment. Now Count l through 19 was all associated
with these two companies Why was l charged with any of these nineteen Counts? This is a good
question because I was told and read it in Government Books when a company is granted their
Bankruptcy that cleared everyone that was associated or employed with these companies of any
wrongful or illegal doing. ljust need proof if this isn’t the law.

This information isn’t everything l have against the United States of America and Middle

District of North Carolina they did in my case. l’m just starting

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The following information proves through the attached United States of America

Contract and Documents, Steven E. Edwards is owed a lot of money the United States of

America has already taken from Steven E. Edwards on or before February 21 , 2006.

Attachment 1, 2, and 3 proves l owe absolutely no restitution amount AISO l WaSH’t
allowed to go to my sentencing on Jun€ 26, 2006

The Plea Bargain Contract dated February 21 , 2006 on Page 5 Palagraph 5 moves Steven
E. Edwards only Contract with the United States of America is made up of 9 pages, and Page 6
and Paragraphs 6, 6A and l is very important Also, the prosecutor Douglas Cannon,
NCSB#8604, was terminated by the United States of America on June 26, 2006. Why was he
terminated on that day but Robert M. Hamilton wasn’t. This is proven in Attachment 4 through
12.

Grand Jury Indictment Counts 8, 14, 18, and 20 was my only four convictions Counts l
through 19 proves that in Paragraph l, counts 8, 14, and 18 should have been dismissed because
Count l was dismissed by the United States of America. Thus means Counts l through 19 never
existed.

Steven E. Edwards Reply to Motion under 28 USC § 2255 that was done by Attomey
John Burlon 919-688-8041 in Durham, N.C. proves l should have been evaluated prior to my
Plea Agreement Contract was done on February 21, 2006. Attachment 18 through 20 is included

United States Tax Court Special Trial Judge Robert N. Armen Jr. order dated June 13,
2013 proves I owe the Government absolutely nothing for Count 20. This is proven in
Attachments 21 through 22. Just because I pled guilty, doesn’t prove I owe any amount

Presentence Investigation Report on Page 10 Paragraph 32 and 34 proves Steven E_

Edwards sentencing was done illegally and incorrectly lt is proven in Counts l through 21 in my

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Grand Jury lndict:ment that comes to a total roughly of $1,398,777.78, not over $7 million the
United States of America added to my offense level that definitely increased my sentencing by
over 10 years. Proven in Attachment 23.

In the Grand Jury Indictment on Pages 41 and 42 it proves in regard to Steven E.
Edwards forfeiture allegations are what all about and why the United States of America owes all
the money and assets they took from me back plus interest Proven in Attachment 24 & 25.
Forfeiture allegations is related to property not cash.

Presentence lnvestigation Report on Page 18 and 19, Paragraphs 81 and 82 definitely
proves what the amounts the United States of America has already taken from Steven E.
Edwards. Attachrnent 26 and 27 is included

Steven E. Edwards absolutely only has one contract with the United States of America,
it’s the Plea Agreement Contract according to Page 5, Paragraph 5 and Page 6, Paragraph 6, 6A,
and 1 specifically proves the United States of America can only reduce my aggregate amount of
$2,650,829.73 plus interest from my criminal violations in Counts l through 14 which is Counts
8 and 14 my only two convictions between the Counts l through 14 which creates a maximum
amount of $150,829.73. This alone proves from this information the United States of America
owes me $2,500,000 which has been created by the Aggregate Amount of $2,650,829.73 minus
the two convictions amount of $150,829.73 that equals $2,500,000 plus interest and additional
assets values the United States of America also took from Steven E. Edwards. 'I`his is proven in
Attachments 28 through 60.

It’s also proven through Government Documents the following information Was all done

by the United States of America against Steven E. Edwards.

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Every question or answer given to me by ludge Osteen was answered by Eric Placke

Public Defender Attorney in Greensboro, N.C.

l never got to approve or deny my Presentence lnvestigation` Report 14 days prior to my

sentencing

'l`hree of my four convictions should have been dismissed because of Count l dismissal

United States of America also owes me $3,897,470 + 2,650,829.73 which adds up to be
$6,548,299 less the forfeiture allegations in my convictions Count 8 and 14 which is between
Counts 1 through 14 which are considered my criminal violations according to the Grand Jury
Indictment and Plea Agreement Contract Bargain is 3150,829.73. Which means the United
States of America owes me $6,397,469.27 plus interest and asset values, bank accounts, etc. that
was also taken from me.

The sentencing was done wrong for at least two reasons according to the Presentence
investigation Report and my conviction because all my convictions occurred according to the
Grand Jury Indictment all before October 2001, which legally proves the United States of
America must use Code 2F1.l not Code 2Bl .1 because all my charges and convictions occurred
prior to November 21 , 2001. Which mean the United States of America owes me an additional
$3,500.00 a day for approximately 10 years, because 1 should have been sentenced a 12-15
month sentencing not 150 months The offense level was increased illegally and wrong in my
Presentence investigation Report on Page 10, Paragraph 32 & 34; the loss was incorrect

According to the Factual Basis and IRS Audit all of my restitution and charges had
nominees’ involvement

1 got a lot cf loans from Nation’s Group, lntegrity and account from the Turks & Caicos

lslands.

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F'actual Basis also proves the Insurance Agent that sold us the Worker’s Compensation

could have fixed our Worker’s Compensation with Liberty Mutual on or before November 14,

2000 if he would have done that we would still be in business
1 should have never been charged with Counts 1 through 19 because Magna Corporation
and The Fidelity Group was granted their bankruptcy way before my Grand Jury Indictrnent.

Everyone associated with these companies was definitely cleared from any wrongful doing or

their companies would have never been granted their bankruptcies

Two attorneys were involved in the Magna and Fidelity Groups bankruptcies, they were
Yoder and Hudson both in N.C.

My Plea Agreement Contract Bargain proves l owe the United States of America nothing

Eiic Placke’s affidavit proves I’m right

The two mail fraud convictions were done illegally by the United States of America.

1 need to know the definition of a criminal violation Really what it means

l’m not responsible for anything in Counts l, 2, 3, 4, 5, 6, 7, 9, 10, ll, 12, 13, 15, 16, 17,
19, and 21. Because they were dismissed by the United States of America.

The only reason I agreed to do the Plea Agreement Contract on February 21, 2006 was
because it was my only contract l would have with the United States of America. Because the
only amount the United States of America says 1 owe for my Plea Agreement was on Page 6,
Paragraph 5C. That must be dismissed because Count 19 and 21 was dismissed because Count
19 and 21 was dismissed by the United States of America.

The Paragraph on Page 8 Paragraph 9 proves the United States of America law says, “No
Agreements, representations or understanding have been made between the parties `in this case

other than those Which are explicitly Sct forth in this Plea Agreement and none will be entered

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into unless executed in writing and signed by all the parties” (Which definitely includes Steven E.

Edwards).

Steven E. Edwards Plea Agreement Contract Bargain dated 2-21-06, Presentence
investigation Reperr dated 6-5-06, reader Besis dated 2-21-06, Jud'gemem in a criminal Case
dated 6-26-06 and Grand Jury Indictment dated July 26, 2005 proves what the United States of
America has done through the Middle District of North Carolina District Court definitely proves
all the above documents are official and the law.

Steven E. Edwards is simply asking for some help to enforce the United States of
America to honor all of these Docurnents, unless someone can prove to me all of these
Documents are not official lf l get someone to help me or not, I’m going to continue with all of
these accusations against the United States of America.

This is some more information l can also prove very easily. ln my Factual Basis it says
the IRS reconstructions of my income and expenditures, Steven E. Edwards corrected taxable
income for 2000 was at least $4,646,417 on which there was due and owing additional taxes of
81,944,392 and Defendant Steven E. Edwards recognized substantial income and made efforts to
conceal his receipt of the same through purchasing property in nominee narnes. This proves the
nominees are responsible for this amount of taxable income because I definitely never received
any property back from a nominee ever. Also, here’s my big question, if they the lRS could
really prove this or have really done this why in the world did the Judge Schroeder in the Middle
District of North Carolina District Court has to have the IRS do an audit for the year 2000 to
prove how the District Courts restitution amount on me was done correctly. How the United
States of America used the IRS restitution amount according to my F actual Basis Was absolutely

done illegally by the Middle District of North Carolina District Court in Greensboro, North

l/Pi

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Caroline. The District Court prosecutor Douglas Cannon definitely made the reconstruction up,
because the audit the lRS did in the year 2000 wasn’t even close to the amount of money 1
supposedly owed for additional taxable income in my restitution amount for the year 2000.
Douglas Cannon was terminated on the day of my sentencing, which 1 was not allowed to go to
on June 26, 2006. Also Judge Osteen approved this.

1 should have never been charged let alone convicted of Mail Frauds in Counts 8 and 14
because it’s proven in the Grand Jury Indictment 1 didn’t even send or receive these UPS or Fed
Ex packages that I was charged and convicted of.

1 should have never been charged or convicted in Count 18 either, because 1 had nothing
to do with receiving money from clients for Health insurance and wasn’t approved on the
banking account at all to write checks, transfer money or take money out of the account at Bank
of America.

The United States of America never proved or could they prove any of my charges or
convictions has been proven.

My restitution amount is definitely not in my Grand Jury Indictment or Plea Agreement
Contract Bargain. All of this information is in Attachments 61 & 62. Also on Attachment 2 on
Page 5 of 6 it Specifically says my restitution amount of $4,565,477.70 must be committed on or
after September 13, 1994 but before April 24, 1996. None of my charges or convictions in my
only Grand Jury Indictment occurred after September 13, 1994 but before Apri124, 1996. Just
read Counts 8, 14, 18, and 20 my convictions

Last, my aggregate of $2,650,829.73 definitely doesn’t constitute the United States of
America enough proceeds to keep my total aggregate amount or forfeiture of the property that

was valued at 83,897,470 by the United States of America in my Grand Jury indictment and

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Presentence lnvestigation Report because my total Forfeiture Allegations only comes to from
Counts 8, 14, 18, and 20 was $150,829.73 my only convictions was Counts 8, 14, 18, and 20 that
creates all of my criminal violations

This Notice is Steven E. Edwards recommendation to prevent him from having to file a
lawsuit against the United States of America in an excess of 850,000,000.

Within 14 days after being served with a copy of the recommended settlement a party
may serve and file specific, written objections to the proposed hndings and recommendations,
You are hereby notified that unless written objections to the Respondent, Steven E. Edwards are
served and filed as provided in the Federal rules, Steven E. Edwards will be forced to file a
lawsuit against the United States of America. Pursuant to Fed. R. Civ. P. 72(b), 6(a) and 6(e).
Setting up a hearing very soon is recommended by Steven. E. Edwards on lune 26, 2017.

Whoever is now involved in my case needs to know 1 have had a lot of phone
conversations with the Department of Justice Attorney in Washington, DC, Joshua A.

Mandlebaum, maybe you should call him 202-305-3091.

%a£ iran

`/§even E. Edwards
615 Pine Street
Wellsville, Kansas 66092
Phone: 649-359-4913
Defendant

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E)EF'END,ANT; STEVEN v15k E.DWARDS
CASE NUMBER‘;, 1205CR265-1

C,R\M}NAL~` MONETARY PENALT]ES

 

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" F"‘d"“g$’f°f the mal amount Of\*OS_S@s,are required ~under<;n,apters 109A. 1'10A, and-1 1311 01 me 13. umwa Su;zeg c@da, fur offenses
cr;mmffted on crafth Sepfem'ner 13‘ 1994 but before Apn'lQ¢_ 1996.

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STEVEN ll {€'DVVARDS

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1_91()11_21_11_';111

Statutmy P1ov1`sious:h1 each of Counts Eight Fourteen Eighteen and Twenly 1111
detendam is eligible 101 11011 ess thanl year nor more than 5 yeaxs p1obatio11 18 U. § 1

§ 35611@1<11.

Guldeline Provisions: Beeause the minimum ofthe guideline range 1» 8 1110111115 or h1 _hu
- . . 1 . l 4 ' T " _|
(Lone C` or 19 111"111€. Senteneing Table); the defendant 1s 111el1g1ble for p1o112111o111 11880

§§Bl. l , eo111rnent.(n.2)_

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Statufr,ory Provisions: The maximum fine for each ofCounts 131 gh1, F 0u1?1ee11, E1gl11ee11, ano
O1111@,1115/'1 is 1250 000 18 U S. C. § 3571(b)(3) The Court shall impose a special assessment
8100101 each felony count ofconvietion 18 U.S.C. §30_13(21)(2)(/1).

Guideline P1ovisions: The fine range fo1 the instant offense ls from 820 0001‘0 8200 000
USSG §§5131.2(@)(3)_

111 deternhnjhg the amounf of the i`me, the Court shall eensider the expected costs to 1113
govemment of any term of probation or term ol"impzisonment and the tenn of supen/ise¢,i
release 111111osed USSG §§El Z(d)(’/') The'most recent advisory from tl1e/dn11'_111'st1'auve
\’th) oe 01 the 111111@<1 States Couns dated Apnl 15 2005 suggests that a monthly cost o1
81 193 380 be used for impm.sonment, 81,675.23 monthly for a halfway house, and a 111011’;1111l

cost 018287.73 1501 supervision

11 estitunon

S` tatutm_ y 1310111.110115: The Coui shall enter a 1e_s1itution 01 der for the full amounl of1'1 1e loss
to 111e '\_.1011111(s 18 U S C § 3663A "he Court may orderrestztubon 111 any 1,1'111111:1 ease
to the extentagee lt to by the pa111es1n _leaAgreem 1111 18US C. §3663(21))(3) Thetotal
amount of 1est1"11111`011 attributable to the defendant ls $,.,4 565, 47'7. 7O.Pay1nems should bc
made pa\ 'lab c and submitted to the Clerl< 01 Court Ur1i1ed States D1str1`et C ou11/1\/liddle

191511101 01 l\'e) 111 Carol)na P. O. Box 2708, G_reensbozo, NC 27402, Payments should be

 

disbursed io:

Sil<era/’ eAssJe1€11es " A1110u111:_898 834 81

Ai.m:l 2 1111 811<1>12. m*~` _ _

25 Concourse Way ` ‘ ;_' f"'
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Case 1:18-Cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Paoe 23 of 87

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v PAGE 10

STEVEN E. I§DWARDS

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lim Sil<ora_ owner ofSil<ora & Associates, reported that as a result c-fthe fraud, he lost irs
good business reputation and a large amount of~rrrone;r.'i~l'e'stated he Was threatened by the

M ` FBI, sue-`:l by many lawyers, and looked at like a criminal.” He advised that he also had to

be treated for anxiety, depression, and high blood pressure as a result of the crime l\/:r.
Sil<ora further reported, “Steve’s partner said he Would have to kill me if any harm came to

i\'ir. Edwards.” Mr. Sil<ora reported more than $4.5 million in losses caused iii

Magna/liidelity,

Todd l\/ieKenzie of McKenzie Pa`int `repoit`ed'rnore than 3140§000 ui"los`se's caused`by` the
crime These losses are attributed to unpaid medical and vvorl<ers’ compensation claims l\/lr.
i\/IcKenzie advised that fifty percent of his employees Were affected and that unpaid medical
bills ranged from 32,000 to 360,000 plus He further commented that his eornpany‘n,o longer
offers health care benefits to its emplo ees as a result ofthe crime

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Oftense lievel Cornputations

The 2005 edition of the United States Sentencing Cornrnission Guidelines Manual, in

con j umction with`the March 27, 2006 Supplement to the 2005 Guidelines Manual:. has been
used for guideline computations
Count Twen_ty is unrelated to Counts Eij-;ht Fourtee_n, and Ei,qhteen and Will be treated

separately USS.G §3D l . l (a)($).

Counts Ei;-;ht` Fourteeni and Eighteen are group ed because the offense level is determined

largely on the basis of the total amount of harm or loss, the quantity of a substance involved,
or some other measure of aggregate hann, or if the offense behavior is ongoing and

continuous in nature and the offense guideline is written to cover such behavior. USSG
§3Di.2(d). 'l:`he`o§fen_se level applicable for the groupis the offense level corresponding to’"“
dieiagg;;§ggted*d'uan”tity, determined in accordance with Chapter:'l`Wo ane»»Parts A,' B and.C

of Cha'p`ter Three; -_”l`herefore Counts"Eight: Fourteen and 'Ethteen"together are used to
determine the guideline calculations for the »groupi" USS'G v§31)1.3(b). ' '

ml lMaii nasa
f 1W
Base foense Level: The guideline for a violation of 18 .S.C. § l341 is found in al §_
Usso §Qsi i. rha base strange i@v@i is s osso zei. it )(2).-§"

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__ _______.. )
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Speci`t`icOr"fenseCharacteristici "_ e`theloss exceeded'$?mi`llion,theoffenge:rf 1-,,{)
lever isincr@ased byzo. esso zsi.i<b,ilii<r<)_-ai "““

specific Orfeesc .Cliai acteri'stlc: Because the offense involved 50 or mere victims __+}_

the Ol`f€HSe level is increased by ll. USSG §QBl.l(b)(Z)(B). y

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l. The Grand Jury realleqes and incorporates by reference

Paragraphe One through Th1rty of Count One of thls Indlctment as it

vfully set forth here1n.

2. On or about November 14/ 2000, ln the County of Durham,

1n the Middlé Distrlct of North Carol1na, STEVEN E. EDWARDS, for

'the purpose of execut1ng'the aforesa1d scheme and art1f1ce to
defraud, and to obtaln money loy- means of materially false and

fraudulent pretenses, representations and promlses, and attemptlng

to do so, knowlnqu d1d cause to be rece1ved from FedEx, a

commercial 1ncerstate carr1er, an overnight package addressed to'

Magna Corpdrat1on

~5317 Haghgate Read

Su1te 114 ,
Durham, NC 27713 '

and with a return address of'

BCN Servlces, Inc
‘3650 W L1berty Read

Ann-Arbor, MI 48103 _ KDWWAW… 'HW_HWVNM "~M"__

wh1ch conta1ned there1n 20 corporate-cheeks from BQN`Serv1eee} and
related eddpeh1es, payable to bmgna Corporation, 1b an amount

totallng § 103, OOO, more or less, wh1ch funds were transmitted to

ip§§,for,u§§k¢§“{ compensation for hundreds of employees`work1og

 

 

outside the Ste~ -of North Carol1na, when, 1b feet , there was no

 

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COUNT FOURTEENv

1. The Grand Jury realleges and incorporates by reference

Paragraphs One through Tnirty of Count One of tnis Indictment as if

fully set forth herein.

2 On or about February 28, 2001, in the County of Durham,

in the Middle District of North Carolina, STEVEN E» EDWARD$, for

the purpose of executing the aforesaid scheme and artifice to

defraud, and to obtain money by means of nmterially false and

fraudulent pretenses, representations and promises; and attempting
a

to do so, knowingly did cause' to be received from FedE/,

commercial interstate carrier, an overnight package addressed to:

Tim Martin
Magna/Fldelity

5317 Highgate Drive Ste 114
Durham, NC 27713

and with a return address of-

Sikora and Associatea, Inc
25 Concourse Way, '
Greer, SC 29650 4704

which contained therein an R J. Roesi check, Ng 1376 oayable to

Magna Corp, in the amount of $ 47,  829 73, which funda were Sent to

pay the February, 2001, premium due for medical insurance for

'South Carolina employed by 31kora & Associates, when, in'

 

&1“#7.:“‘§§$*°\“%$*§

Mm Casei:ia -¢'\'/- --00428 TD`§- JEP Documem “

COUNT EIGHTEEN

1. The Grand Jury realleqes and incorporates by refe;ence

Paragraphs One through Thirty of Count Gne of this Indictment as if

,fully Set forth herein.

2 During the period from on or about Janqaiy 1, 2000, until

on or about April 30, 2001, the exact da;es to the Grand Jurors

unknown, in the Middle District of North Cétolina and elsewhere,

STEVEN E. EDWARDS, did on one or more occasions knowingly and

willfully steal and without authority convert co his own use moneys

and funds in QYCSSS of $ lOO}

Stolen and without authority converted co his own use during the

said time period being the approximate sum of S 2, 500, 000 from a

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health care benefit program, which affected commerce, as defined by

Ticle 18, United States Code, § 24(©} #jhat iS, The Fidelity Group,

also known as Premier»Health Plan and Members Choice 2000
~~ ~~ _ _,_ ,,,__,..m¢_-¢===;__` "
TiLle 18, United States Code, Sections

 

Inc.,

Health Plan; in viola iion of

669 and 2

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§~y.,,,.»"j’,\-'»`¢"ib.. ~ § _x=.. m .._.»w »

  

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the total amount of moneys and funds

  

 

_names other than his Own;

 

'R`turn, Form 1040,

substantially in excess of that heretofore stated and that upon

said additional ioint taxable income a substantial additional tax

was due and owing to the United States of America.

ln violation of Title 26, United States Code, Section 7201.

COUNT TWENTY

During the period from on or about January l, 2000, to on or

about November 5, 2001, in the Middle District of North Carolina,

and elsewhere, STEVEN E. EDWARDS, a resident of Durhann North

Carolina, who during the calendar year 2000 was married, did

willfully attempt to evade and defeat a large part of the income
tax due and owing by him and his spouse to the United States of

America foti the calendar year 2000 by: /;K) concealing and
attempting to conceal from all proper officers of the United States

of America his true and correct income by depositing funds into and

causing funds to be deposited into accounts titled in names other

and causing funds to be

than vhis own, dispensing funds from

dispensed from accounts titled in names other than~ his _own,

ré¢elvlng payments and causing payments to be issued in names other
than his owdj and titling assets and causing assets to be titled in'
and ?) preparing and causing to be

¢.»_

prepared, signing and ca using to be signed, mailing and causing to

 

 

be mailed

         

which was

 

on behalf df himself and his Spouse,

 

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false and f_ audulent Joint 0 5 Individu:l Income Taxf;";'”

      
   

 

of Durham, North Carolina,

  

and owing to the United States of America

_In violation of Title 26, United States Code, Section 7201.

count thNTY~oNE;' T /QM¢Q

curing the calendar year 2001, sTEvEN E. EDWARDS, a resident

had and received taxable income upon

which there was a substantial tax liability due and owing, that

well knowing and believing the foregoing facts, STEVEN E EDWARDS

from on or about January l, 2001, to on or about October 15, 2002,

iri the Middle Distiict of Noitn Carolina, and elsewhete, did

willfully attempt to evade and defeat the said income tag due and

Owing by him to the United States of America for said calendar year

income tax return on or before October 15

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by failing to make an

2002, as required by law, to any proper officer of the Internal

Revenue 5ervice; by failing to pay to the Internal Revenue Servicev

and by concealing and attempting to conc:eal from
act the United States`"o`f`:"z?‘§r?ia`fi`c'a"`Hi`a"_?`£"u`§“a?fci"`" "“…

said income ta"

all proper officer
to-and causing fonda to be

oorrect income by depositing funds in

names other than his own,

into accounts titled in

deposited

 

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\NASH\NGTON, DC 20217 t

steven eooene EDWARDS, )
Petitioner, ))1
v. )) §Dpc_l<et'l\lo,` 17329'-,10.%"
commissioners or intean REVENUE, § -
llespondent §

0 R D `E. R .

. On M_girch 29, 2010, petitioner filed a petition to contest a deficiency in income tax
of Sl,054,l42.00_ and a fraud penalty under section 6663 of $790,606.50 for the taxable
(cal'endar) year 2000.l The deficiency in tax is based principally on respondents
determinations that petitioner failed to report 32,641,215 of “diverted funds” and 363,648
of interest income The notice also states that petitioner is “collaterally_estopped from
raising a defense as to the assertion of the section 6663 fraud penalty” because lie “pled
guilty to lncoine lex -Evasion under»the proyisions of"l`itle 26,"U.S.C." 7201`.”2"'

' On lanuary 22, `2013",` respondent filed a Motion For Surnmar_y ludgrne_nt and n
Declaration in support thereof On Pebnlary l l, 2013, petitioner filed a Response
objecting to the granting of rcspondent’s motion On February 21, 2013, petitioner filed
a Supplernent to his Response. ' .,

ln the penultirnate numbered.para_graph` of his motion, respondent contends that
“petitioner is collaterally estoppc_d`frorn challenging respondents determination of the
tax deficiency.and,the fraud penalty for the 2000 taxable year due to by fsic] his guilty

    

   

      
    
   
  

      
   
 

 

 

 

plea for violating l_.R.C. sec_ 7201”_ sw"*`di&`§r“e'§ §§tli jeij,tiojnje'i‘i£§§éfonyidtionz§f
estebli§l%§$€@§l§§fbatth ` " wderpayfrlsnt`§" “""“'“ ... `"`"‘~" `a ‘ ""neiriisz\i@f
ogiinderp`a§nei;wi di to ‘ g“nnoii`éi"ec_“`§»§v“ibnon ‘ _ ,._ . ~“ “{iq,pm ,,;th@.'
darrestingdeemedentries‘é;§penaent*iiltt”i~iléi’iittit‘é€trén%tr§ie “' ite§rieeei§é§tii§iiéns?

 
  

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4 _ , ., l see ’…»» 'r»<~.:;.».-e~»s§rs"’f§“rr »eui~:m
conviction esta 11$11 -‘fh&.ti§l,li@.¢§llii;e underpan nt§yy:is§a§§nbutalil‘elitd&§fr u,_t See, e.g., sec.

666'_')' (b). l’>:c€`?o?`i?dingly;oil`f;tli`elirecbrdi'b`efote`éus;ziit‘icannot:bc snid;gpgt;gi§;e§iszno;genuine-"

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1 All section`rei’ercnces are to the lnternal Revenuc Code,` as amended', all Rule references are to
the 'l`ax Court Rules ofPractice and Procedure. ' ` " ` z ` ' ' '~ 4 ' '

2 The Court notes that in his `Ans\$\ler filed May v19,'§’2010, respondent a't`tlr`rnatiyely relies on the
doctrine of collateral estoppel v §e_e_Rule 39. ' ` ~ ~ ' 1
SERVED Jun 13 2013

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Case 1'18-Cv 004 v
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TDS .]EP Document 2-1 Filed 05/17/18 Paoe 31 f87
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issue as to any material fact or that a decision may be rendered for respondent as a matter

of law.

nsidered, it is hereby

Premises co
otion ForfSummary Judgment, 51

ORDERED that respondent’s M ed January 22,
` 2013, is denied

(Signed) Robert N. Armen, Jr.
Special Tria\ Judge

Dated: Washington,D.C.
luna 12, 2013

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ease 1:13-0\/-0042 - 7
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lN THE UNITED STATES DISTRICT CCURT ...

FOR THI~; MJDDLE DISTRJCT cF Ncam cARcLINA_' » V T‘\ .

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UNHED sTATEs 01= Amech 1 oscmes~l § i’."§

v § ."53»"'

§ 1 \` ~-.." ` \;` "

~.. `_ t f <\_
sTE\/EN 13 EDWARDS FACTUAL BASIS . ,_ , . , §§ "\ \ v
~~~L‘__~é,`.»/

NOW COMES the United States of Amenca, by Ama Mills Wagoner, Umtecl States
Artcmcy for thc M1ddle Dlstnct chcrth Carolma, through her assxstants, Robert M Hamzltcn and
Douglas Canncn., and Franmaze Davzs, mal attorney, Tax Dmsxcn, Umted States Depmmem cf
`,Justxce, and as a factual basls for Defendant’s plea to Counts _Elght, Fourteen, Elghreen and 'l`wemy‘
cf the lndxctment, under Rule ll, cheral Rules of Cnmmal Procedu;e,_states the fcllowmg_.

The United States would present the fcllc\xn)ag evxdence at mal

COUNI FOURTEEN

Slkcra and Assoczates, of Scuth Carclma, contracted wllh Edwards fcr health xnsdrance
coverage (See_ Count Exghteeu evzdence as well) Sll<ora and Assoczates ma1led a check vxa federal
Express on Fel>ruary 26, 2001, for 547,829 73, for health care premxums No health msu~rance '
slashed at tlns tune On December 3l, 2000, ERC,`a remsurance company, canceled a polsz due
tc lach of payment on the premxum 'l`hlrd party adzmmstrators pay claims on behalf of a chem but
dc not fund the claims and do not serve as an msurance company Epcch was a thxrd party
adrmmsrralor employed by Edwards to settle health msurance clalms for employees cf Edwarcl`s
chem compa.mcs After .lanuar'y 26, 2001, Epoch recewed no money from Edwards’ compames to

limd the payment ofhealth msur ance claxms 'l`hu.s, the above check was clearly embezzled

Case liO§-'cr~OGZGS-TDS Dccument 28 Flled 02/21/2006 Pace l cf 8§

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Case 1:18-0\/- -00428- TDS- .]EP Document 2- 1 Filed 05/17/18 Pacle 33 of 87

ill

Sil<ora and Associates repeatedly attempted to obtain a health insurance affidavit from
Edwards indicatmg that the health msurance plan Edwards provided Wa$ fully IHSUFC‘d, 115 required
by Scuth Caro lina law Sikora also repeatedly attempted to obtain plan documents without success
The plan documents Sil<ora ultimately received were those of the Epccli plan, and revealed that
rather than being fttllyinsured‘ the health msurance Edwards was providing was self-funded Sil<ora
inquired about the problem and Steven Edwards and Edwards’ employee Tim Martin` told Sllcora
that the description ofthe plan as bexng §“self-fun|ded" was a pouring error

COUNT EIGHT

ln Augiist 2000, Natioris_Group obtained an assigned risk workers compensation insurance
policy through the State of North Carolma and Liberty-Mutual, which covered employees located
m tlie State of North Carolma. Corrtpames acre required by the various States to mamtam workers
eompezisatrori mstrrarice to benefit and protect workers injured on the geo Ori September 13, 2000,
Pete Seagrove-s, an insurance agent acting on behalf cf the defendant, requested that Li erly l\/li.irual
extend coverage to states m addition to l\lorth Carolma On September 22 and 27', ZOUD, Libei'ly
Mutua.l advzsed Seagroves of the necessary steps to obtam coverage in other states

Oti October 2, 2000, Liber€y Mutual advised Seagroves and Nations Group that no coverage
existed outside the state oi`North Carolma led Seagrov es lr , owner of the Seagroves lusura:ice
Ageiicy, discussed this letter and zssue with Mr Edwards. Bruce thsori, ofABP a client company

m Florida, received a similar non-coverage letter and Edwards mrsrepresentecl to Wilson that the
letter was a “mistalce " §

On cr about Novenaber 14§ 2000, BCN, a client company/tri Miclngan, remitted 3 lO'>‘,OOO 00

m workers comp premiums by means of commercial earner (Note, the l.iberty Murual policy/never

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Case *l:G,S_Ci'~OOQ@B~TDS Doctlment 28 Filed OZ/Z'l/ZOOB PBGS 2 OT'B '_ § _
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Case 1:18-Cv-OO428-TDS-JEP Document 2-1 Filed 05/17/18 Paoe 34 of 87

covered any businesses iri Micliigan but, in any event, the Liberty Miitiial policy was canceled On

November l/~l, ZOO'O) BCN had many affiliated companies which each wrote a check The group

of checks was mailed iri one envelope Based on representations by Edwards, BCN believed they

had workers compensation coverage through Edwards and his companies and, conseq uently, remitted

insurance premiums to Edwards month atler month
COUNT EIGHTEEN

Prorri Jariuary l, 2000, through April 30, 2001, the defendant collected health insurance

premiums of approximately $l,~'iO0,000, from companies in Soi.ith Carolma, Florida, and Noith

Carolina and c=:lsevi/lierc5 Which were diverted and not used to pay claims or insurance for claims

Prom lanuary l, 2000, through Septernbcr 30, 2000, no tnsurance eristed Proni 0ctober l, 2000,

through December 31 . ?,OOO, a reinsurance/stop loss policy existed but the l-`idelity Gronp, a health
care lienth program operated by Edwards, did not receive or pay the requisite claims to invoke this
policy Thus, thousands of health claims went nnpmd because the Fidelity. Group had insufficient
funding and no insurance for the first SlZS,OOO in claims incurred p_e_;p_ersg,n Tlie Pidelity Group
operated in interstate commerce because it collected premiums from clients in South Carolina and
Flonda 'l`he defendant instructed employees to remove the last page of plan description documents
containing the words ‘“self-funded" before allowing the plans to _bc mailed to clients lim Sil<ora?
in South Caroliiia, received a plan with the “self-funded" lang'uage and was assured by both Edwards
and Edwards’ employee Tim Martin that a “pri'ntirig mistake" had occurred

Duri.rig the above time period, the defendant utilized the health care premiums for his own

personal use For instance, on September l$, 2000, the Sunsliine Group wired SlSO`OOO in

premiums into Edwards’ account m the name of Capital Marl<eting, lnc A week later. on Septeml)er

.3.

Gase *l;OB-or-OGZGB-TDS Documerit 28 Filed 02/21/2006 _Paoe 3 of 8 _
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Case 1:18-cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Paoe 35 of 87

22, 2000, Edwards wrote a check on thus account for 588,315 75 to Cynmar builders to pay for
C,onstructlon of hrs home m Durham 'l`he Srl<ore Group a thetr health premium trt late Febrtxary,
ZOOO, but 'l`lm Marttn later told ham that Frdchty made therr last payment to Epoch on February l~l`
2000 (actually lanuary 26, ZOOO) Thu.s, rn late February, Stkora Group rcrmtted a health care
premtum to Edwarda ’ company, Frdelxty, for whtch hrs employees reserved no health care insurance
protecuon‘ Stkora’s premxurn was not returned to hrm

ln March 2001 PMCS another thzrd party ad.n'umstr ..tton htred by Edwards returned health
alarms to Edwarcls/Fldelrty Group because they drcl not rccewc fundmg Edv.'arcls tnstn.lctecll
employees to refuse to accept shtpment ofclarms and the clmms were returned to PMCS Although
Edwards»’{ computes collected health msumnce :premrtrms from employees\ then health tnst)rance
clarth went unpaid and romero m storage at PMCS today

COUNT rweN'rY

In the tax year 2000, Steven Edwards was a restdertt ofDurham, North_Caroltna, and filed
or caused to be filed ajornt U S lncltvxclual Income Ta); B.cturn, 'r`orm lO~¢lO. on behalf o f hrmself and
hrs spouse, etattng that them j<>mt taxable mccree for the 2000 calendar year was S 4,_833, onwhtch
there was due and owrng a tax of 3 724 lntmth and tn fact, as Steven Edwards then well knew. his

mcome was suhstantrally htgher than he reported resultmg m a tax due and owing ofsuhstantrally

 

"===Q_==_=

more than he calculated @dmg to IRS reconstructxons ofhts tncome and expend)mres Steven

dwede C°“”f@d‘mblwgcge:§W…WhM%j
771/14, ,4/1/ ¢:;,, ,ZL@ 62 MZ/

owmg addttxona.l taxes of S l,944,3 92

 

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Thc proc-f would dtsclose that m the prevrous year, l999, he reported m come of 5 200.074,

on which he alarmed there was due and owmg a tax of`S 55,381 ln truth and m fact, as'Steven

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Bdwalds then well knew, hrs tncome for 1999 was substannallyhtgher than he reported resulttng m
a tax due and owrng of substantially more than he calculated ln calendar year 1999, l'.R_S
reconstt'ucttons oflns mcome and expendmlres, Stet'en Edwards corrected taxable mcome for 1999
was at least 3 571,675 on whtch`there was due and owtng addtttonal taxes of S 209,398

The proof would dxsclose that tn the year, 2001, Steven Edwards faded to tile a tax return for
;he calendar year, thereby not reporting mccree of at least S 24,685, on w'htch there was a tax due
and owtng cf at least 3 7,411 l

Durtng calendar year .ZOOO. Defendant Edwards recogntzed Substanttal mcorne and made
efforts to conceal his recetpt of the same through purchastng prop erty trt normnee names He caused
to be constructed a horne actuated m Orange County, North Caroltna, for h1s wife and lum but had
the checks rssued to the budder CynMar for the co srs of consn'uctton drawn on a Capttal Marketmg.
lnc account He also loaned checks payable for the purchase of various motorcycles (sorne ot`whtch
were put tn nonmee.names) and had money wtred from the Capttal Marl<etmg, Inc bank account
to the Bear Stearn.s mvestmenf and brokerage house hrs pereonal_rnvesn'nent pulposes although the
rnves'tment accounts were mammined in the name of a shell enttty, Carolma Green. Inc All of these
tterns constttuted mccrae to him as they were for has personal benefit

The chart below reflects some ot`EdWards’ tneome for tax year 2000 Wlnch was‘omrtted from

hls tax return

 

2000 - eis drawn to the benefit offer deposited into account of Edvtards

 

 

 

 

‘ date ": _ ` " Payee Amount
‘ 01/'17/00 .» ` 5197,,702
02/21/00 s 1243 1 4

 

 

 

 

 

 

 

 

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Case 1:18-Cv-OO428-TDS-.]EP Document'§-l Filed 05/17/18 Paoe 37 of 87

 

 

l/' 2000 x/s drawn to the benefit of/or deposited into account of Edwards

 

 

 

 

lt.'." 4 f . _ . _ . . .

.. . . Account . -. l-_-. date z -_ _`.Payee -* Amount
rgaplm Markeeng¢wezetr 3/05_/00 """" cyaM§r(bund§r)".`f"§,, 2137,000
capanmark§mg»/w§_gsts 0_3/20/00 .1.§. \. ' cpa/tar miami 'j ;' 5103,996

 

    

 

 

 

 

 

l equal Markeung aj w`§ eez_o 05/10/00 :t'}c§nMa_v@und§r> 1 " s 238,224
carpet Mar`tenngg( N`= 2621 05/26/00 ~ ` clyan (bun_der) s 189.388
M,a:m@i/ w§36241 06/15/00 -: ~cynMa_r emtd§z)._ _. ; _ s rst,oss

 

     
  
  

 

 

 

 

 

'captha}éeungll wez¢§o 07/19/00 ‘.“`_cprar(bmn§r) ` s 31,§14
CapttalMarlc g¢»N*-Q€B-. 09/29/00 *‘5 §§ynMar{qullder) : 5 884,315
£UWMMMSV w¥g§g§i- 03/04/00 l¥MynzeBeac ,_H§;tey s 42,995
£aptetmaxk§ungvt~ezw . 12/01/00 ~"tz§cl&§¢ M<>_u§`rrta:tey 326.090

_C§'.pltal Mnrketrng v' _N_n 2475'~;- 03/14/00 Twm Spectalues (m_ctorcycle) S 50,000
segal makemg»/ 'w`§ zezs“ 06/26/00 ryan Sp§etare=e (morqmycte)~ 5 zo,coo,

'1$ r’k»-'§¢"h"i, A`»'l

v g:_."`fe 1 ’ tz'§an"‘ jewest oa/os/c_c §§ Mspemte§i{motomyct§)- s 20,159
_'Cap §§Ma“r'i¢emgw`w ¢§*§`:l “‘ 08/23/00 ,'rwm)§§“é'mxnes ;motoreyete)` s 23,692_v
captat Maraeung`§! w§:zm 10/25/00 Twn§£pé£§ames §merereyet§)?' s 25,000

swan c"e_. ij _w§ 043794_`, , 0'1/04/00._; stev§a‘ adams qatv§rsion> s 13,245

 

 

 

 

 

 

 

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sdisam§ 'c:'Q 32 w'§ q)f.§g;, §_ .=.

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_ 02./01`/00 Steven lj:dwaxds' fdtve`rsion) 5 l-'¥.I 79

 

 

 

 

  

 

  
 
 

wm €§.' t/(w§o$z§ ` 04/25/00 ,`_§r §§ awards `(ary§`r§m) s19,335
»~. \¢ \- .- § §

\,--,,s § ,i,zv`, §§ t~+:u- ,,-‘,z ~ -’~ ;i. - " '

§§ts$`§ Cl>¢_ :13.§ §;i_>‘ 5§.;.§” 07/06/00 ?-; Ey§§an§le§Lamr§m) . s 17,020 _

 

 

 

 

 

isn§s§l“ne@q"»jrw= §55533£§_ 07/25/00 lé‘t¥teaea mis@§§rswn) `f s 23,028

 

 

 

 

 

Saa;tiine éo“*i/ we o§§§a §; ~'_':i 03/22/00 *`.-""s f§'§‘? " E§waéds (div§§`st`§nj ` s 22,146
l:"`tdeht§? G§Q\.tg’v/ N° 2024‘ .<=-106/12/00 '. ` Steven Edward§ (dive`rston)_` 5 154.379
Eidellty Group\v’ N‘..ZOA¢§ 07/14/00.__Stever_1_Ec_'iwards (d`x_verston) S 62.56l

` ..~`§:* (mvestment)

 

 

03/07/00 '"e'§,.rsc§ms(camtma o__rm) 3115.000
,`IA

 

 

 

.' 03/17/00 `_“l~Bea;sf§ams¢mvesment) 5102,000

 

 

 

 

 

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2000 \/s drawn to the benefit of/or deposited into account of Edw"ards

` -':="?~~--` ” Accor':ht ' ' date ._`.,=. ' Payee Amount
Cag!tal Markehngw;re 03/27/00 -5-_ l13»\=:.§:"8&_§11~115 fxuvesunent) S 130,000#
Capltallv.far`keungwxre. `:`__-‘ 04/12/00 Be_ar Steams {mve_stmen;)' 5 119,000

w “` 04/26/00 ; 'Bearstem (rmescmenr)` s 80,000
Capnsa Markeungm " 05/01/00 Bear stems (mesmn:). s 75,000
CaplfalMarkemgwlre< 05/22/00 B¢az stea;ps{inve_shnem) 5145.000
mengpngmm 07/13/00 ';`ngr sq¢args<mv¢sm¢m) . s 49_.000
’i'<§'i§iz?§o§‘§§é§=i@ii'di:.: :.- 5 ~ , ' 1 , § 2,641,215

 

 

 

 

 

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Thls the 255 day ochbruary, 2006

ANNA MH.LS wAGoNER

 

 

Robert M Hamxlton, LaSB ii 1400
Asszstant United States Attomey_s
Umted States A!torney's Of§ce
dedle Dlsmct of Nonh Caroima
Post Of`r`lce Box 1858

Greensboro, North Caxo,lma 27402.
Phone 336/333'5351

_ l have been advzsed by my attorney thai the Govemment‘s case would generally conslm of
the above-descnbed proof Ido not contest those facts and agree that they would prov\de a suffic\em
factual basls for a findmg of guilty of thc» charges to winch I wish to plead guth

 

Steven E Edwards

Case TZOB~CF-OOZGS-TDS Documenf 28 FHe`d 02/21/2006 Paoe 7 0f8

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Case 1:18-Cv-OO428-TDS-.]EP Document;Z-l Filed 05/17/18 Paoe 39 of 87

IN THE UNITED STATES DISTRICT COURT

FOR IHE M\IDDLE DISTR_ICT OF NOR'I`H CAROLINA

UNTTED STATES OF AMERICA 1 05CR265-l

_ V

STEVEN E EDWARDS CERTIFICATE OF SERVICE
lhereby cemfy that on 21 g;(Pebrv.lzu'y, 2006, the foregoing Was filed w1th the Clerk of the
Court and I will send nonfi¢auon of such filing to the followmg

Emc D. Placke, Esq

As'slstant Federal Public Defender

101 S Elm Street, Suite 210

Green_sboro, North Camhna 27401 .

HMH+»M~L\

ROBERT M HAMILTON
Asslstant Umted States Attomey, LASB #1400

United States Attomey‘s OUce
dedle Dz'stnct of`Ncrth Carolma
Post OHce qu 1858

Grccnsboro, North'Caro]ma 27402
phone 336/333~5351

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"PAGEis

STEVEN E. EDWARDS

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Emplovment Record

Det`endant£dwatds reported that he has been self employed in-theinsurance_business sir;c:
1982. He explained that he has Worl<ed With Jerry Lancaster, ofPlano, Tex'as,'tor man]y} lemle
referring clients to Mr. Lancaster's insurance businesses, Providence and lmpena . it .
defendant advised that he typically earned $20,000 to 330,000’£1 month A letter Was send 0
Mr. Lancastefrequesting information regarding the defendant s employment, however, re
letter Was returned With no information Further employment experience rs unknown

The Social Secun`ty Adrninistration Detailed _Earnings Statement reflects the following

 

earnings
YEAR _:A.MQ_U_NI M
2000~2005 None l None
l 999 $l 07,600 Magna Leasing Corporation
‘ lntegn`_ty Corporati on
1998 3136,800 Magna leasing Corporation
y integrity Corporation
1997 ' $68,400 Magna Leasing Corporation
1996 . 851,950 Magna Leasing Corporation
. B~ACCU Florida, Inc.
1995 13,807 self~EinpiO;m@m

Pinancial Condition: Ahility to Pay

AS of the date_of this report, Detendant Edwards has failed to provide financial information
as required by 18 U.S.C. § 3664. His net Worth and monthly cash flow are unknown The

defendant did report that he Was earning $20,000 to $30,000 a month in the insurance
business prior to his arrest According to a Motion to Amend Conditions ofRelease filed on

his behalf the defendant has plans to resume his Worl< With ferry Lancaster’.s insurance

business._~_/»`tccording to the government the defendant may reeeive»tun-ds, i.e. commission

residuals, in the future for Worl< done for Mr. Lancaster.

Pursuant to the _"Plea Agreement, the defendant has consented to theifort`eiture of the property
nt. Tnis property includes ';$‘§3\‘,;89;_7,"§;7_:,0;1`.-)

named in the forfeiture allegationin the indictme
Club, located in Biushy-Forl€"l`ot‘»/nship:

"ash and Lots l5 and 48 of Yonahlossee Saddle

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Case 1:18-cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Paoe 41 of 87

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PAGE19

STEVEN E. EDWARDS

2005. ` _»______»

82. P':ursuant to the Plea Agreement, the defendant has also consented to-`the forfeiture corp
$2,650;829.73 in cash, a 2003 Cruise Master motor home, a 1995;§01,@_- 1 ~15_0-::1_¢1'11€5€, a 200‘:
Continental_t_railer, and two Harley DavidSOn mOfOIC)/Cl€$':" t '. ’

PART D. SENTENCING.OPTIONS
Custody

83. Statutory Provisions: F or Counts Eight and Fourteen, the maximum term of imprisonment
for each count is 5 years 18 U_S.C. § 1341 For Count Eighteen, the maximum tenn of.
imprisonment is 10 years. 18 U.S.C. '_§ 669 For Count Twenty, the maximum term of
imprisonment is5 years 26 U.S.C. § 7201.

84. Guifdeline Provisions: Based on a total offense level of 35 and a criminal history category
of `IU, the guideline ran e for imprisonment is 210 to 262 months @SSG Ch.5 Pt.A ~

/ SENTENCING TABLE§
lmpact or`Plea Agreement

85. The Plea Agreement has no impact on the Calculation of the guidelines
Supervise=:l Release

86. Statutory Provisions: If a term’of imprisonment is imposed for each of Counts Eight,
Fourteen, Eighteen, and Twenty, the Court may impose a term of supervised release of not
more than 3 years 18 U.S.C. § 3'583(1))(2). Such terms of supervised release shall run
concurrently 18 U.S.C. § 3624(@).

87. Gur‘deline Provisi`ons: For each ofCounts Eight, Fourteen, Eighteen, and Twenty, the term

years but not more than 3 years USSG §5Dl.2(a)(2,).

Watauga County, NC. The property in Watauga County Was sold for 8688,277i11 S€D[@mber

f

 

of supervised release is at least 2
Supervised release is required if the Court imposes a term of imprisonment of more than l
of supervised release to follow

year USSG §5D1.l(a). The Court may order a term

v_i_n_apii_s_onment in any other case USSG §§Dl.l(b).

Case 1:18-cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Paoe 42 of 87

4. The defendant, STEVEN E. EDWARQS, as golng to plead

 

gu1lcy to Counts Elqh;yBEour£een}gELghteen and Twent`;_
Indlctmépt¢hereln because he 15, 1n fact, gu1lty and not because

of any threa:s or promlses.'

s*:"'“"'aaa‘;asz"feh"e'ar-"€)~;a:§l“ea ba"r“aai 111aj‘1n 1115 ease 13 115

»fcllowsg
_'a. Cpon the acceptance by the Court_of a gulley plea
by the defendant,`STEVEN E. SDWARDS, to Counts Elgh§j1Fourteenf

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`1here1n, and at the

ltv

      

Eagh:een and-Twenty§ef the 1nd10+men

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concluslon of +he eenpencirg hear1ng tnereog, t§e Unlced Scates§

w;ll not oppose a rotion_no d1sm1ss the rewa1n1ng counts of thei§

Ind;c£menc as to §he'def§§§§n¢ d

 

'_‘_i\;'_a. aoNARDs~ inns garmon

i"-j.,b_.e' Plea:ng;;e§;§§§jj; 1a made pursuan: no sine 11(¢)(1)(11) 05 me

 

`Federal Rules of ermlnal Procednre.

b. ft 15 further understood that 1f the Court
deterr;nes at the else of sentenc;ng that the defendant, STEVEN
E. EDWARDS,`qeallfles for-a 2~p01nt decrease 1a the offense level'
under Sect;on 3El.1(a} of she Sennenclng Guldel1nes and than the
offense level prLor te the operat1on of Sect;on 3E1[1!a) 1a 16 or'
greaeer, then the Unleed States W1ll'recommend~a decrease ln the

offense level by l addaclonal level pursuant to Sectlon BEl.l(b)

Case 1:05~cr-00265~NCT Document 27 ' Flled 02/2'1/2006 Paoe 5 Of 9

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w;ll consent to the ferre1”nre of the brope"ty .nared ;Ln the
feare;ture allegatlan ln~ahe Ind1¢tment§he *F abe Pa»uae of
these charges and the elements of these 911-aa age e';_, “'i;`i,.h-leh. ia'i':;s*t ,b__é _`/

prayed ny the Jnlted S*at;ee oeyord a measena_b,le doabzalbeftore chef-

   
 

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by~hzs atcorneyq v
a_. 'TZ$e-.=da>f€i‘:lil\§.e§¥.¥.,_ T"`V DWARES, understands -*'ch_a:c

eha waxl-mi;'m: team of f:,?"‘p'f'r~lscnr~ent orevloea ~b'_y_ law for Counts
E;ght, 'Fe\;r~t;~'e¢e-u._f and Twenty Of'the 'noLot“ent 15: not sore than
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E1cé " ‘“
b. The des eneam;, s-TBv-EN e. .s:)WARDs;., uri-ders=ta~nds that
the maxlrum parr of 1mprasonmer~* prov1ded by law for Ciount~
’e;ghceen er eve :ndleemen; 1a nee more-sham zem.years, and the

ria>'<l`rau`m- flue for Count E':L'g'h‘c~'ee~n of the Indl-c'.tme_rj,.»t '1»"3 $25'0,0,€0,- or

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Stete$#€©de/ §€G§lcn 3571, enc;tled1“8entegce af Fade¢"
'c;. me de-fenda-r'i¢c;,'; S_.':EVEN E. EDWARDS; ;a;s.o under§car_ids ~

thet1'ae'%e Ceun;s'§ight, Fourteen, Ezqh€eénfandM-

 

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m .Tl.tf`ie: 18'U.h‘,l¢;ed States C'<):'éie., Sez:.~:;ron 3'~§631». '

 

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Case 1:18-Cv-OO428-TDS-.]EP DoCument 2-1 Filed 05/17/18 Paoe 45 of 87

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V.IN'_ lFD"ER`Ll].V‘YOSJ'?S')‘

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geoperdy defense er clalm of deuble jeopardy, and any clalm or
defense under the Elqhth Amendment to the United States
»Consel:utlon. ‘ l

¥7; Ic ls furnher?§nderstood that the Unlted States an§ the
§eiendane, STEVEN_E. SDWARQ§; reserye the rlght co b;;ng_to the
Qour:'s attention any facteiaeem§d relevant for'purpeses of

._Sentenc;ng.?

8. Ihe defendan:,_STEVEN E. EDWARDS, further understands
end egrees that pursuant to Tlile 18, Un;ced States Code, Secelon
3023, for any offense commlz:ed on or after October l;,'1996/ the
defendant shall pay'an~assessmenc to the Ceurt of $100 for each
offense to who.ch he 15 pleading gullty. fines payment shall be
rade at the tlme cf sencenclng by dash or money order made
payable to the C§erk_of :he`Un;zed States Dlszrlct Court. If the
defendan: ls lndlgent_ a_nd_ cannot wake the spec).al assessmenc 4
payment ap the tlme of sentenc;ng, then the defendaht agrees to
participate ln the In§ate Flnanclal Responslblllty Program for
purposes of paylng such Speclal aesesswent,

91 §NO,&Qr@€m€RfS' fé§f€S€ntéf§¢g§§§o§€§nderstand;ngs havem;

_;been made be£ween the partles 1n':hls~q§§§§£§herb€han`thoee_whlcw:

§re expllc;tly set forth in this Plea Agreement, and none wlll be

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entered into unless executed ln wrlt;ng and Slqned by all the §

pariles.

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Thls the <£3[/ day of Eebruary, 2006

<:@§ AM'

ANNA \LS WAGONER - ERIC D. PLACKE
Un;éca:es Ar,torney Atto ey fo Defenci§nt

   

  
 

   

 

-'STEVEN E. EDWARDS
Defendant

 

ROB?:.RT M. HAMILTON ~
Asslstant Unlted States A:torney
P. 0. ch 1858

Greensboro, NC 27402
336/333-5351 `

%Mma 1>41%,§

FRA.»U£NB nAv:s up

rlal A:torney
Depar:ment of Justlce Tax Dlvlslon
600 E $treet, N. W , Room 5712
Washlngton, DC 20004

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Case 1:0&Cr-00265~NCT Documem 27 F`ned 02/2‘1/2006 Paoe 9 of 9

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Case 1:13-cv-00428-TDS-JE'F>` Documem 2-1 Filed'05/17/13 Page 49 of87

 

_30. I\: was _a further' part of the echeme and artlflce to
defraud and to obcam money by means of materially false end
fraudulent pretenses., representemo_ns end promlses then S'(‘EVEN B
E.DWARDS would and dmi dxver* money pam by employee Leaslng cllenh's
and PEO c;lem;s for workers componeatlon J.nsu)gance end health care
keene-fws and use the money to ouppor_); `h:Ls luxurmous l).fe st_yle.' to
purchase real estate, to bolld a oalatlal‘ home and a mounc.-e:.n- vlll.a
for ms own personal use a'nd oenefat, and to aoqulre» a collecclon
of expensive vehicles and mot,or_cycles.

31. On or about August 31, 2000, m t_he County of Durham, ).n

fn .\:he chidle District of North Carol:_na, STEVEN E EDWARDS, for ché

purpose o€ executian the aforesaid scheme and arol§:.ce to defraud
end to obtain money by means of materlall'y false and fraudulent
‘precenses,_rep):esenr.a\:lons and promises,' and achemptlng co do e<>,
knowingly da.d cause co be reoelved fron'\ E‘edE»c, .a commercial
s.nterstate carr`.xer, an overnight package _address'ed coe

Steve Edwarcls

M_aqna Corp

3909 Old Chapel full ad

Durham, NC 27707
_and wlth a return address oE" '

Slkor:a and Aesoclat:ee

25 Concourse Way,

Greer, SC 29650
whlch contalned thereon a Slkora. & Assoc:.mal:esv Inc lcheok N“ 1538`,
payable to Magna Coro, ln‘ the amount ot"$ 8,601.48,.whlch funds

were Sent to p_ay for workers-’ compensation lnsurance for workers m

._20.,

20 of 44

 

Case 1:18-Cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Paoe 50 of 87

dlsoenslnq funds from and causlnq funds to be dlspensed from
accounts titled ln hanes other than hls own, receiving payments and
causlng payments co be lssued ln names cohen than has owny end
tltllnq assets and couslnq assets co be tltleo ln names other than
his own.

In vlolaclon of Tltle 26, Unlced States Code, Secc;on 7201.

. FORFEITURE ALLEGATIONS
'1. _ The allegatlons contalned ln Councs Qne through Flfteen

`\

and Elqhteen are hereby realleqeo and lncorporeted by reference for

the pufpose of alleglng forfelfure hereln.

 

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Qon'convlctlon of one or more of the offenses alleged on
Counts-One fhrough_¥lfteen Or Nlneheen of chls'lnolc§ms§tf thai
qefenqenr STEVEN E. QDWABQS shall forfelc co the Unlceo_$te§e§$§l§t

srlght, tltle and lnterest §§ and co the followlng:j '

'a. §§@¥@gpnope§¢ feel sore person§;e lnvolved ln a

 

transacclon or actempted transaction ln vloletlon of Tltle 18,.
Unlted States_Code,_Sectlon 1957, or any property-traceable to
such property, pursuant to Tltle 18, Unlted States Code,

Sectlon'QBl(a)(l)(A) and Tltle~;B, United States'Code, Sectlon.

2461<<:),~_- <‘

     

b. reAHW§&opec&% cea o_

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_,)…

Yér§§negj which conscltutes Or
ls derlved from proceeds traceable to a vlolatlon of.Tltle 18,
Unlted States Code, Sectlons 1341, 1343 or 1959, or a

conspiracy co commlc such offense, pursuant to~Tlcle 18,

 

Case 1:18-Cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Paoe 51`;1; 87

Unlted States Code, Sectlon 981(8)(1)(€) and Tltle 28, United

States Code, 52ct10n`2461(c); and

c. Any property, neal or petsonal, that constltutes or
15 derlved, dlrectly or andlrectly, from gross proceeds

traceable to the commisszon of a vlolatlon of Tltle-lB, Unlted

States Code, Sectlon 669, pursuant to Tltle 18, Unlted States

Code,.Sectlon 982(a)(7).
d'3.` The property subject to forfelture pursuant to pe§egraph
2 above shall tnclude, but not be limited to, the followlnq:

a- §_e_sh_t_l;<>_§ss.€l§
' $~ 3,897,470; qlnp that lsuch sum ln the7 aggregate‘

constttutes thel;ptoceeds pderlyed' from the c:tmlnel

vlolations}§

b "Real Prop§§t§§

All rlght tltle and interest ln end to that_ceftaln
plot, piece or parcel cf land located Ln Brushy Fork
Townshlp, Wateuga County, North Carollna, wltn all
appurtenances and lmprovements thereon, and more
partlcularly described as follows'

Belng 'all oi` Lots .15 s 48` of Yonahlossee

Saddle‘Club, Brushy Fofk, North Carollna, as

the same le more partlculerly shown on map

recorded Ln_plat Book 15, Page 270, Wateuge

County Reqlstry.

~4. If any of the property desczlbed above as belnq'subject

to forfelture, as a result of any act or omlsslon of a defendant,

 

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Case 1:18-Cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Pade 52 of 87

Docket No. 7329~10
owing a tax of $724.

37. ln truth and in fact, as Petitioner then well knew,
his income was substantially higher than he reported resulting in

a tax due and owing of substantially more than he calculated.

_ agrees ~"\-e'~w~”

As set forth in the indictmenti based on a

preconstruction of income and expenditures, petitioner's corre;;;;§
taxable income`for 2000 Was at least $4,646 417 on which the;e>

was due and owing additional taxes of $1,944 392

    

  

 

   

39. During calendar year 2000, petitioner recognized
substantial income and made efforts to conceal his receipt of the

same through purchasing property in nominee names.

40. He caused to be constructed a home situated in Orange

County, North Carolina, for his wife and him but had the checks

issued to the builder CynMar for the costs of construction drawn

on a Capital Marketing, Inc. account.
41. He also issued checks payable for_the purchase of

various motorcycles (some of which were put in nominee names) and

had money wired from the Capital Marketing, Inc. bank account to

the Bear Stearns investment and brokerage house for his personal

investment purposes although the investment accounts were

maintained in the name of a shell entity, Carolina Green, Inc.

421 All of these items constituted income to him as

were for his personal benefit.

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Case 1:18-Cv-OO428-TDS-.]EP Docurn”ent 271-1 Filed 05/17/18 Pace 53 of 87

  
 

Certiorari was inadequate. Mr. Edwards was sentenced on June 13,
but the court did not enter judgment until June 26, 2006.

42006,
fully' advised

Because 1 inanted. to. make sure Mr. Edwards was

regarding.his appellate rights, potential appellate issues, and the

advisability of an appeal, on June 21, 2006, l sent Mr. Edwards a

a copy of which is attached. On

letter addressing those issues,

June.27, 2006, I met with Mr. Edwards at the Alamance County Jail

Annex, gave him a copy of the judgment which had been entered the

day before, and explained that th
I also asked Mr.`Edwards if he

notice of appeal had begun to run.
l

had received my letter of June Zl, 2006, and he said he had.

reviewed the entire letter, and the issues_l discussed in that

letter, with Mr. Edwards. l asked Mr. Edwards if he wanted me to
file a notice of appeal, and he said that he did not. At my

request, Mr. Edwards then read

acknowledgment, a copy of which is attached, directing me not to

file a notice of appeal. I complied with that direction.

I did not receive any communication
‘indicating he had changed his mind, and wanted me tO file a HOtiC@
The first

of appeal, during the lO-day time for doing so.

Communication of any sort.I_r€C€iY€d YKQW M¥:
June 27, 2006, meeting was a letter, postmarked July 191 2065, and

received by my office July 13, 2006. The letter, a Copy of which

is attached, did not indicate that Mr.

Case_i;OS-cr-OOZ€§~NCT ‘Dooument 124~2 Filed 12/21/2007 Paoe 7 of30

_`_}

e lO~day time in which to file a‘

and signed an appeal rights'

from Mr. Edwards

adverse after Our

Edwards had decided to

 

Docket NO. 7329~10

_ b) The respondent is a party in privity with the
United States of America, the prosecuting party in the aforesaid
criminal case in which the petitioner was a defendant.

c) On or about July 26, 2005, the petitioner was
indictedy inp§r §li§, for willfully attempting to evade income
tax in violation of 26 U.s.c. § 7201 for the taxable year 2000,

d) On or before February 21, 2006, petitioner pled
guilty to/ ip§er alia, one count of willfully attempting to evade
income tax in violation of 26 U.S.C. § 7201 for the taxable year

~2000 in the indictment.

l e) on mine 2¢§,_~._2,0»06,l the United states District court
'for the Middle District of North Carolina entered a judgment
finding the petitioner guilty of one count of violating 26 U.S.C.

§ 7201 for the taxable year 2000.

f) An issue in the instant Tax Court case is whether
the petitioner reported all of his income for the taxable year
2000.

.g) The fact that the petitioner received income which

was intentionally not reported on his joint income tax return for

the_year 2000 is evidence, in part, that the underpayment is due

to fraud.

Case 1:18-Cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Pace 55 of 87

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agnificance of, the issue of whether to apply the 2000 or 2001
://~version of the sentencing guidelines. l also reiterated my earlier
guidelines were no longer mandatory, but

advice that the sentencing

 

rather\advisory.
the court accepted my argument that the less

Ultimately,
guidelines should be applied

 

severeh 2000 version.of the sentencing

iii Mr~?Edwards casey (§§;;;,with that ruling, the senten;e*h;j\
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han any specific estimate he and l had

n ' [/j§dwards received.was'hi§h@r t
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(;:§Eiipssed)§ However,

three factors: (l) the probation officer's d

     

that difference was largely the result of

iscovery of criminal

history beyond that revealed to me by Mr. Edwards, or otherwise

ure of the presentence report; (2)'

known to me prior to disclos

Edwards that resulted ill a two~level

post-plea.actions by Mr.

and the loss of the three~

enhancement for obstruction of justice,

level reduction for acceptance of responsibility; and (3) the
above the advisory

court's§decision to impose a variance sentence,

guideline range.

d. Pinally, Mr. Edwards also alleges that l was ineffective

in that, although he “repeatedly requested [that ll file an appeal

ation of the 10 days/' l instead filed “an

prior to the expir
rther appears to_allege

untimely notice of appeal.” Mr. Edwards fu
that l should not have said, in the motion to extend the time for
filing a notice of appeal, that he initially chose not to appeal,
and that my advice regarding a potential petitiOD fOI Writ Of

Case 1205-cr-00255-NCT Dooument121~2 Filed 12/21/2007 Paoe 5 of 30

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Se 1.18 cv OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Pace 56 of 87

 

 

 

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3/ M'Z/i;?,¢/:/ W¢¢Z;WH@L; £;Zz;zé//D
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CaSe 1:18-Cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Paoe 58 of 87

United States of America

United States of America
and
Department of Justice
Plaintiff/Petitioner

VS

Steven E. Edwards
Defendant/Respondent(s)

This is dennitely a Civil Rights Complaint pursuant tO 28 USC § 1331 to
upgrade what Steven E. Edwards has already did in<the United States
Court of Federal Clairns in January 2014 or before No. 13-971 C.

Steven E. Edwards absolutely believes the United States of America has to go by the
same laws as I do.

Since l have been out of pri§€n-I have had a very long meeting with Branch Chief Public
Defender Tom Bartee in Kansas City, Kansas and verbal conversations with Eric Placl<e Public
Defender in Greensboro, North Carolina. 'Ihey both agreed on every accusations l have included

t in this Civil Rights Complaint. This is different isn’t it?

The last trial date in Winston~Salem, North Carolina was June 24, 2015 Docket No.
7329-10 the two Marshals<that set with me on the opposite side of the 30 or more Govemment
employees on the other side, the Marshals told me once the trial was over, I just won and the
United States of America owes me a lot of interest plus the money and assets the Govemrnent
took from me.

There is strictly a lot of serious accusations that need to be corrected for Steven E.

Edwards 14975031. Because every accusation is proven by Govemment Documents that are

attached to this complaint

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Case 1:18-Cv-OO428-TDS-.]EP Document 2-1 Filed 05/17/18 Paoe 59 of 87

. . . . ,, _
Amcndmen€. night to counsel m order to mount a collateral challenge to his conviction ), blunt

Li\nn 57 nasd 1327, 1340 de ca 1995> quoting nat “th@ constitution does not require
counsel for defendants who attack their judgments under 28'U.S.C. § 2255”). Under 28 U'S'C~
§ 2255 and 18 U.S.C. § SOOGA, the Coun, in its discretion, may appoint counsel ifit “detcrr.rllfl€$
that the interests of justice so require.” 18 U.S.C. § 3006A(a)(2). Appointment of counsel is also
required if discovery is otherwise authorized and counsel is needed tot effective discovery or
where an evidentiary hearing is -to be held. §§g Rules G(a) and 8(<;) bf the Rules Govcrning n
Section 2255 Proceedings for the United States District Courts.

Having reviewed Edwards’s request for counsel and the record in this matter, the Court
does not Hnd that appointment of counsel is required by the interests of justice or otherwise
The challenges Edwards.repeatcdly brings_in this Court all amount to attacks on his convictions
and sentences that must be brought in a Motion under § 2255. Because he has already pursued
such a Motion, he must'reccive permission from the Fourth Circuit before Eiling a further § 2255
Motion in this Court Unless and until he receives that pcrmission, it does not appear that there
is any way he can legitimately raise a claim in this Court with or without counsel, nor does thch
appear to be any claim presented that would require appointment of counselin the interests of
justice Therefore, Edwards’s request for counsel will be denied Should the Court later
determine that the interests of justice otherwise rcquirc, the Court will appoint counsel at that
time

For very similar rcasons, Edwards’S Rule '60(b) Motions ghould be dismissed Th@

Mouons challenge Edwards’s conviction, his sentence calculation', and theamount of restitution

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included in thejudgment, based on information in the Indictment Presentence Report, Factual
Basis, Plea Agreement, and from the United States 'l`ax Courts. ln addition, the Motions include
arguments that Edwards should have been evaluated for hearing and memory loss prior to
pleading guilty, that prior rulings by the United States Banlrruptcy Courts invalidate most of his
charges, that Counts 2 through 18 against him should have been dismissed because they were
related to Count l, which was dismissed, and that he did not commit the predicate acts
supporting Counts 8 and 14. v
All ofEdwards’s arguments appear to constitute attacks on the]udgmentin his criminal

case. As such, Federal Rule of Civil Procedure 60(b) does not apply because Rule GO(b) pertains

 

to civil actions, not criminal actions _S_e_<; _Fed. R. Civ. P. l; §§ Lls@ United States v. Mosavi, 138
F.3d 1365, 1366 (l lth Cir. .1998). As the Court has consistently told Edwards, he must challenge

his criminal judgment through a § 2255 Motion and, because he has previously filed a § 2255

Fourth Circuit. Therefore, to the extent Edwards seeks to attack his convictions or sentences,
the Rule 60(b) Motions should be dismissed as unauthorized attempts to file successive petitions

§§ United States . Winestoclt, 340 F.3d 200, 207 (4th Cir. 2003). Therefore, the Court will

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STE`VEN E. EDW_A_RDS

72 lim Sll<ora, owner of Sil<ora & Associates, reported that as a result cf the fraud, he lost his

_-- .good. business reputation and a large amount o'f“money."l~l'e‘stated he was hthreatened b_v the

l'~`Bl, sued by many lawyers and looked at like a criminal.” He‘ advised that he also had to

be treated for anxiety, depression, and high blood pressure as a result of the cnme. lvlr.

Sil<ora further reported, “Steve’s partner said he Would have to kill rne if any harm Came to
l\lr, Edwards." l\/lr. Sikora reported more than $4.5 illion in losses caused by /~'
/M af'-»<a?’ l_,_a4 l -~’l~'t’~'“~""'{"“‘“'t/"Z~ / °'

Magna/Fidelity. Mf/`/sz/M _ _ _
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7§-=_ lodd McKenzie of McKenzie Paint reported rnore than $140,000 in losses caused by the
crime These losses are attributed to unpaid medical and Workers’ compensation claims lvlr.
l/chenzlc advised that fifty percent of his employees Were affected and that unpaid medical
bills ranged from $2,000 to $60,000 plus He hirther commented that his cornpany__r_lo longe;_

offers health care benefits to its employees as a result of the crime é:£____é- V_. 4;_.;. _li_r_;___
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'.`é-".l The 2005 edition of the United States Sentencincr Commission Guidelines Manual_ in
conjunction with the March 27, 2006 Supplernent to the 2005 Guidelines Manual_. has been

  

 

used for guideline computations
_`= l. aunt 'l'u-'en__t_‘,_/ is unrelated to Counts Eight. Fourteen. and Eighteen and will be treated
separately USSG §3Dl.l(a)(_3).

_~‘a. Counts Einht. Fourteen. and Eiahteen are grouped because the offense level is determined

largely on the basis of the total amount of harm or loss, the quantity of a substance lnvo lved,
or some ozher measure of aggregate harm, or if the offense behavior is ongoan and
continuous in nature and the effense guideline is Written to cover such behavior. l_lSSG
§SD l .Z(d). `l` he offense level applicable for the group is the offense level corresponding to
the aggregated quantity, determined in accordance with Cliapter Two ann Parts A. B and LF
of Chapter 'l`hree. Therefore Counts Eiaht Fourteen_ and Ei;zhteen together are used to
determine the guideline calculations for the group. USSG §3Dl.3(b). `

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§ 1341 is found in j j_

_B_ase Offense Level: The guideline for a violation oflS .S.C.
esso sant z. rha base teams level is s ussc 2131.1 ylz).~.-t'

_Spe_ci_t`ic_ Offense Characteristic: c t _. theloss exceeded$7million the oftense +-?C
level ts increased by ?.O. USSG gZBl. l(h,l l)(K)_-'§'jrj" 1 _ “;-

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. . . Speclf`ic Orfen se Characterrstlc: Because the offense involved 50 or more xl't'ctln'ls +~4

the offense level is increased by 4, USSG §2_}31_1@)('2)(}3)_ ii

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A very serious response l got from the Magistrate Judge Joi Elizabeth Peake on or around
2/19/]3 in regard to my Motions l filed in Docket l:05CR265-l and l:lZCV4l9. Her
recommendation proves a lot, it says on pages 4-5 of her Order. “The Motions challenge
Edwards conviction, his sentencing calculation, and the amount of restitution included in the
Judgement based on information in the lndictment, Presentence Investigation Reports, F actual
B_asis, Plea Agreement, and from the United States Tax Courts. ln addition, the Motions include
arguments that Edwards should have been evaluated for hearing and memory loss prior to
pleading guilty, that prior rulings by the United States Banlcruptcy Courts invalidate most of his
charges, that Counts 2 through 18 against him should have been dismissed because they were
related to Count l, which was dismissed, and that he did not commit the predicate acts
supporting Counts 8 and 14. All of Edwards’s arguments appear to constitute attacks on the
Judgernent in his criminal case.” Attachment l. Why doesn’t a very positive Magistrate Judge
have the power from the United State Government to correct arguments appear to constitute
attacks from an inmate

After a very interesting conversation with a United States of America Department of
Treasury attorney on January 3 0, 2017 this response really needs to be read. Because every word
I’m putting in this is also proven in the United States of America Documents;

What the United States District Court in the Middle District of North Carolina Judge
Osteen approved and put in my Judgement in a Criminal Case dated 6-26-2006 between the
United States of America v Steven E. Edwards is amazing. Now just read Page 1 in regard to my
dismissed Counts l, 2, 3, 4, 5, 6, 7, 9, lO, ll, 12, l3, 15, 16, l7, 19, and 21 Whjch really meanS
the United States of America didn’t have any proof l did any of the charges or they would have

never diSmiSS€d them, this alone means they never existed. Also read Page 5 there’s two little

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rN rita UNirEo states Disrarcr count

POR THE MlDDLE DISTRICT OI~` NORTH CAROL}.NA

STEVEN E. EDWARDS,

Pe_titioner,
l :05 CRZ§§ ~l

V.
l:O7CVOO§Ol

UNITED states or AMERicA,
Respondent~.

DEFENDANT’S RBPLY TO MOTION UNDER 28.U.S.C. 52255 TO
_ ` VACATE. SET ASLDE. OR CORRECT SENTENCE

NOW COl\/lE_S the Defendant- etitioner, Steven E. Edwards, by and through his
counsel, lohn M. Bourlon, and replying to the position stated by the Uru'ted States of

America in its Response to Motion Under 28 U.S.C. §2255 states to the Cou“t the

following _
F acts and Proceedings

hi an effort to streamline the arguments presented by the Petitioner in his 52255
l\/lotion, and responded to by the United States of America, this Reply will address the
grounds for said Motion in the order in which they were addressed by the Unite States
of America TWith respect to the facts and proceedings outlined by the United States of

America m its response the Defendant concurs with the procedural history and will not

address the same herein
Coanizable Claiins

Although the Defendant concurs with the Respondent’s analysis of a l\/lotion
pursuant to 28 U.S.C. §2255 contained within the Response under the caption

the Defendant will reply to specific instances raised by the

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“cognizable claiig

Respondent in.the order in which they were addressed

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‘ ' ' - ether he had

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h hereto as Exhibit A). Mr. Edwards did not interpre1 this ouestron 1o mean wh
lacl<e in his affidavit even affirms t__at he

fern (DE

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ever had a head injury or memory loss.
he accident was getting bet'

indica ed that the memory loss he experr‘=r»ce da

11212 at 2)
11111 thermore rt was not on_y Mr. Edwards who had explained 10 l\/ir Placr:e that

?ll:

ftl .
P@titio 1er had suffered a head injury res lting in memory loss During a conversation

hPeti tioner s counsel in approximately Gctober or 2005, Petitioner s current co inse l
nt, and the

Wll
c1sc1.S d with l\/lr Placlce the effects of the aforementioned motorcycle accide
change in l\/lr Edwards personality compr ehensron, and memory
throughout l\/lr. Placlce s representation or l\/lr Edwards Petitioner continue ed to
displays _ptorns from the accident Following the sentencing of the Petitioner in late
, `- Iune 2001/15, Pet 1 1ior 1er repeatedly complained of severe headaches, dizziness, an as ar
1:~)}`_)
s ympto rs. "lhis all occurred during the period rn which Mr. Edwards was facing the
irnportan1 decision of whether or not to appeal the»sentence imposed by the D1str1c1

Court l\/Lr Placl<e acknowledges ind his affidavit that at this time the Petitioner was

” orn these health c'oncerns, sta’dng that he even contacted the United S1a1es

su ”rer? ing fr
Marshal s Service regarding these complaints (DE#lZl- -2 at 8) this was in fact dcnein

11 .
1 uly 113 2006 letter a copy of which is attached hereto as Exhibit B. in this l tter 1\/11
l

 
   

/"§1\

// l` Placl<e discusses the fact that l\/fr Edwards suffered severe head mjinres several v

' afro in a motorcycle accident” (Exhibit B).
the Petitioner"s

release from the hospital following the motorcycle accident

UPOH

actions and routines had drastically changed fro prior to the accident 'l`his abnormal

havior is documented in an affidavit by his bro 1-11,, Richard Edwards s, ached hereto

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. H'.€U/U*a\

accepted standard and resulted in multiple prejudicial instances Also as a result of Mr.

Placl<e’s conduct, Petitioner did not voluntarily, intelligently and knowingly enter into the

plea agreement l\/lr. Edwards’ competency was central to his defense and Mr. Placl<e

unilaterally abandoned said issue

The Constitutional protections guaranteed by the Sixth Ameridrnent were

repeatedly trounced upon not only by Petitioner’s counsel, but also the District Cotirt’s

decision in imposing a lengthi`er sentence

WHEREPORE, the Petitionei', Steven E. Edwards, respectfully submitted that his
motion ama 28 U.s.c. §2255'5110111<1 be granted and impairment ernie District com
should be vacated

this the 6“1 day @rPebmai;/, zoos.

J'Ol'~lN M. BOURLON
ATTORNEY FOR PETITIONER

/s/ IOHN M. BOURLON
Attomey for Petitioner
N.C. State Bar No. 9131
Bourlon & Davis, P.A.
109 N. Church Street
Durham, N.C. 27701
Phone: (919) 688~8041

attvjmbourlon,@verizon.net

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dots next to my total amounts of loss and then read the bottom 2 dotted lines so by reading this

proven information you will then understand what has been proven in regard to where all of my

restitution amount must come from, Septembcr 13, 1994 through April 24, 1996. This is really

very clear.

ln my Presentence lnvcstigation Report just read Paragraph 93 on Page 20 in regard to
my restitution amount again. On Paragraph 32 and 34 on Page 10 it proves how the United States
of America District Court raised my Office Level, which was done illegally. Paragraphs 81 and
82 on Page 18 and 19 definitely proves in regard to the money and assets the United States of
America took from me the only way the United States of America can keep my aggregate
amounts must come from my Grand Jury Indictment convictions and the only contract l have
With the United States of America, my Plea Agreement Co.ntract.

In my Plea Agreement on Page 5 Paragraph 5 it says this is the plea bargaining and the
extent in this case is as follows Also read Paragraph 2 on Page 2 in regards to my forfeiture
allegations and where it must come from, the Grand Jury Indictment Go on to Paragraphs 2d and
2c on Page 3 where all my restitution amount must come from. On Paragraph 53 on Page 5 it
proves what my convictions Were and what counts l, 2, 3, 4, 5, 6, 7, 9, 10, ll, 12, 13, 15, 16, l7,
19, and 21 never existed Paragraph 6, 6a and Lirie l on Page 6 proves in regard to how the
United States of American can keep any of my aggregate amount Theri Paragraph 9 on Page 8
and 9 is the United States of America law that must be honored

Now, read my four Counts 8, 14, 18, and 20. My only convictions I excepted from the
United States of America which prove What all of my criminal violations add up to be.

Read John Bourlons response on my behalf in order to reply to Motion Under 28 U.S.C.

§ 2255 on Pages 2 and 3 Paragraphs l, 2, 3, and 4. Under law I should have been evaluated prior

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to my Plea Agreement Contract was signed on February 21, 2006. Whoever reads this response
can never disagree legally with this paragraph

1 believe this paragraph is the law, all whoever is reading this just has to read the Order
that carrie from the United States of America Tax Court Special Judge Robert N. Armen Jr. on
lone 12, 2013. Especially read Paragraph 3 on Pages 1 and 2 and the final paragraph on Page 2.
l'his Order is real clear and definitely related to my Plea Agreement on Pages 8 and 9 in
Paragraph 9 and my Presentence lnvestigation Report on Page 20 Paragraph 93. All of_these
Paragraphs prove l don’t owe the United States of America or anybody else any amount of
money except what’s in Counts 8 and 14.

Now it’s going to get real interesting to you from this point on in regard to my response
ln my Grand Jury Indictment on Pages 41 and 42 Paragraphs l, 2, 3, and 4 it proves where my _
forfeiture allegations must come from to justify the United States of America to keep any amount
of money from my aggregate amount Until someone can prove to me from United States of

' America laws, l will always believe all of my criminal violations must come from my Grand
Jury Indictment Counts 8, 14, 18, and 20 my only criminal violations according to my only
contract I have with the United States of American the Plea Agreement Bargaining Contract By
now you do know Count 1 was dismissed which I believe means Count 1 never existed Now
read the first paragraph in Counts 8», 14, and 18. I believe legally these three counts Should have
been dismissed

Read the last Paragraph 31 on Page 20 in my Grand Jury Indictment that prove What
Count 1 forfeiture allegation maximum it can be $8,601.48.

What the Department of Treasury attorney really should read in my Factual Basis Dated

February 21 , 2006 the day my Plea Agreement Contract was also finalized Just read Pages 4 & 5

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about Count 20. Who their attorney is with is the United States of America then the lntemal
Revenue Service or Treasury Department. Which means he needs to read Count 20 in my Factual
Basis because it says the $4,646,717 taxable income and additional taxes of $1,944,392 was
derived from the IRS. As of today the attorney or the IRS involved in my case has still not
proven l owe this amount or how the IRS came up with these numbers When l started
questioning all of these numbers that l supposedly owed the IRS and companies, but the Middle
District Court new Judge in my case because Judj»zOsteen retired. The new Judge Schroeder
ordered the IRS to prove l owe the money the United States of America put in my restitution
amount The audit the IRS did for Judge Schroeder isn’t even close to the restitution amount of
$2,105,820 with no Fraud amount involved. The meeting l had with the IRS attorney on
December 4, 2014 in a meeting he told me the IRS couldn’t go back and audit me more than 3
years from my Grand Jury Indictment which Was dated July 26, 2005. He also told me the civil
litigation amount can’t come from my Grand Jury Indictment Now read Pages 5, 6, and 7 in my
Factual izasis. This proves the amount the IRS attorney came up with definitely came from my
Grand Jury Indictment Count 20. All you have to do to prove this is read my Factual Basis.
Read my Criminal Docket where it says where my restitution amounts can come from
Counts 8, 14, and 18 but What the United States of America has already done was all done
illegally because my convictions Count 8, 14, and 18 doesn’t add up to be $4,565,477.70. Counts
8, 14, and 18 only comes up to be a restitution amount of $150,829.73 which is really weird
because that only reduces my aggregate amount down to $2,500,000 plus interest and assets.
Now even if 1 allow the United States of America to use my Presentence Investigation Report to

reduce my aggregate amount by 31,522,736.90 the United States of America still owes me a lot

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of money,

I’m getting close to finalize this response, the United States of America or the Justice
Departrnent should have made sure the Middle District Court used the correct Code 2F1.1 for my
sentencing not Code 2131 .l Because all of my convictions occurred prior to November 21, 2001.
Look this information up,

You also need to know Magna Corporation and Fidelity Group was both granted their
Bankruptcy way before my Grand Jury Indictment Now Count 1 through 19 was all associated
With these two companies Why was 1 charged with any of these nineteen Counts‘? This is a good
question because l was told and read it in Government Books` when a company is granted their
Bankruptcy that cleared everyone that was associated or employed with these companies of any
wrongful or illegal doing. I just need proof if this isn’t the law.

This information isn’t everything I have against the United States of America and Middle

District of North Carolina they did in my case. I’m just starting

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The following information proves through the attached United States of America
Contract and Documents, Steven E. Edwards is owed a lot of money the United States of
America has already taken from Steven E. Edwards on or before February 21, 2006.

Attachment 1, 2, and 3 proves I owe absolutely no restitution amount Also 1 wasn’t
allowed to go to my sentencing on June 26, 2006.

The Plea Bargain Contract dated February 21, 2006 on Page 5 Paragraph 5 proves Steven
E. Edwards only Contract with the United States of America is made up of 9 pages, and Page 6
and Paragraphs 6, 6A and l is very important Also, the prosecutor Douglas' Cannon,
NCSB#8604, was terminated by the United States of America on June 26, 2006. Why was he
terminated on that day but Robert M. Hamilton wasn’t. This is proven in Attachment 4 through
12.

Grand Jury Indictment Counts 8, 14, 18, and 20 was my only four convictions Counts l
through 19 proves that in Paragraph l, counts 8, 14, and 18 should have been dismissed because
Count 1 was dismissed by the United States of America Thus means Counts 1 through 19 never
existed.

Steven E. Edwards Reply to Motion under 28 U-SC § 2255 that was done by Attorney
John Burlon 919-688-8041 in Durham, N.C. proves 1 should have been evaluated prior to my
Plea Agreement Contract was done on February 21, 2006. Attachment 18 through 20 is included

United States Tax Court Special Trial Judge Robert N. Armen Jr. order dated June 13,
2013 proves 1 owe the Government absolutely nothing for Count 20. This is proven in
Attachments 21 through 22. Just because I pled guilty, doesn’t prove I owe any amount

Presentence Investigation Report on Page 10 Paragraph 32 and 34 proves Steven E.

Edwards sentencing was done illegally and incorrectly It is Proven in Counts 1 through 21 in my

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Grand Jury Indictment that comes to a total roughly of $l,398,777.78, not over $7 million the

United States of America added to my offense level that definitely increased my sentencing by
over 10 years. Proven in Attachment 23.

In the Grand Jury Indictment on Pages 41 and 42 it proves in regard to Steven E.
Edwards forfeiture allegations are what all about and why the United States of America owes all
the money and assets they took from me back plus interest Proven in Attachment 24 & 25.
Forfeiture allegations is related to property not cash.

Presentence Investigation Report on Page 18 and 19, Paragraphs 81 and 82 definitely
proves what the amounts the United States of America has already taken from Steven E.
Edwards. Attachment 26 and 27 is included.

Steven E. Edwards absolutely only has one contract with the United States of America,
it’s the Plea Agreement Contract according to Page 5, Paragraph 5 and Page 6, Paragraph 6, 6A,
and l specifically proves the United States of America can only reduce my aggregate amount of
$2,650,829.73 plus interest from my criminal violations in Counts l through 14 which is Counts
8 and 14 my only two convictions between the Counts 1 through 14 which creates a maximum
amount of $150,829.73. This alone proves from this information the United States of America
owes me $2,500,000 which has been created by the Aggregate Amount of 32,650,829.73 minus
the two convictions amount of $150,829.73 that equals $2,500,000 plus interest and additional
assets values the United States of America also took nom Steven E. Edwards. This is proven in
Attachrnents 28 through 60.

It’s also proven through Government Documents the following information was all done

by the United States of America against Steven E. Edwards.

 

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by Judge Osteen was answered by Eiic Placke

Every question or answer given to me

Public Defender Attorney in Greensboro, N.C.

nvestigation Report 14 days prior to my

1 never got to approve or deny my Presentence 1

sentencing

Three of my four convictions should have been dismissed because of Count l dismissal

United States of America also owes me $3,897,470 + 2,650,829.73 which adds up to be

$6,548,299 less the forfeiture allegations in my convictions Count 8 and 14~,which is between

Counts l through 14 which are considered my criminal violations according to the Grand Jury
ludictment and Plea Agreement Contract Bargain is $150,829.73. Which means the United
States of America owes me $6,397,469.27 plus interest and asset values, bank accounts, etc. that
was also taken from me.

The sentencing was done wrong for at least two reasons according to the Presentence
lnvestigation Report and my conviction because all my convictions occurred according to the
Grand Ju`ry Indictment all before October 2001, which legally proves the United States of
America must use Code 2F1.1 not Code 2B1.1 because all my charges and convictions occurred
prior to November 21, 2001. Which mean the United States of America owes me an additional
$3,500.00 a day for approximately 10 years, because 1 should have been sentenced a 12-15
month sentencing not 150 months The offense level was increased illegally and wrong in my
Presentence lnvestigation Report on Page 10, Paragraph 32 & 34; the loss was incorrect

According to the F actual Basis and IRS Audit all of my restitution and charges had

nominees’ involvement

I got a lot of loans from Nation’s Group, lntegrity and account from the Turks & Caicos

islands

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factual Basis also proves the Insurance Agent that sold us the Worker’s Compensation

could have fixed our Worker’s Compensation with Libeity Mutual on or before November 14,

2000 if he would have done that we would still be in business

l should have never been charged with Counts 1 through 19 because Magna Corporation

and The Fidelity Group was granted their bankruptcy way before my Grand Jury indictment

Everyone associated with these companies was definitely cleared from any wrongful doing or
their companies would have never been granted their bankruptcies

Two attorneys were involved in the Magna and Fidelity Groups bankruptcies, they were

Yoder and Hudson both in N.C.

My Plea Agreement Contract Bargain proves I owe the United States of America nothing

Eric Placke’S affidavit proves I’m right

The two mail fraud convictions were done illegally by the United States of America

1 need to know the definition of a criminal violation Really what it means

I”in not responsible for anything in Counts l, 2, 3, 4, 5, 6, 7, 9, 10, ll, 12, 13, 15, 16, 17,
19, and 21. Because they were dismissed by the United States of America.

The only reason 1 agreed to do the Plea Agreement Contract on Febi'uary 21, 2006 was
because it was my only contract I would have with the United States of America Because the
only amount the United States of America says I owe for my Plea Agreement was on Page 6,
Paragraph 5C. That must be dismissed because Count 19 and 21 was dismissed because Count
19 and 21 was dismissed by the United States of America.

The Paragraph on Page 8 Paragraph 9 proves the United States of America law says, “No
Agreements, representations or understanding have been made between the parties in this case

other than those which are explicitly set forth in this Plea Agreement and none will be entered

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into unless executed in writing and signed by all the parties” (which definitely includes Steven E.

Edwards).

Steven E. Edwards Plea Agreement Contract Bargain dated 2-21-06, Presentence
lnvestigation Report dated 6~5-06, Factual Basis dated 2»21-06, Judgement in a Criminal Case
dated 6-26-06 and Grand Jury Indictment dated July 26, 2005 proves what the United States of

America has done through the Middle District of North Carolina District Court definitely proves

all the above documents are official and the law.

Steven E. Edwards is simply asking for some help to enforce the United States of
America to honor all of these Docurnents, unless someone can prove to me all of these
Documents are not ofticial. If I get someone to help me or not, I’m going to continue with all of
these accusations against the United States of America.

This is some more information l can also prove very easily. In my Factual Basis it says
the IRS reconstructions of my income and expenditures, Steven E. Edwards corrected taxable
income for 2000 was at least $4,646,417 on which there was due and owing additional taxes of
$ 1 ,944,3 92 and Defendant Steven E. Edwards recognized substantial income and made efforts to
conceal his receipt of the same through purchasing property in nominee names. This proves the
nominees are responsible for this amount of taxable income because 1 definitely never received
any property back from a nominee ever. Also, here’s my big question, if they the IRS could
really prove this or have really done this why in the world did the Judge Schroeder in the Middle
District of -North Carolina District Court has to have the IRS do an audit for the year 2000 to
prove how the District Courts restitution amount on me was done correctly. How the United
States of America used the IRS restitution amount according to my Factual Basis was absolutely

done illegally by the l\/liddle District Of NOIl.ll CaIOliIla District Court in Gl‘eenSbOl`O, NOl'lh

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Caroline. The District Court prosecutor Douglas Cannon definitely made the reconstruction up,

because the audit the IRS did in the year 2000 wasn’t even close to the amount of money l
supposedly owed for additional taxable income in my restitution amount for the year 2000.
Douglas Cannon was terminated on the day of my sentencing which l was not allowed to go to

on June 26, 2006. Also Judge Osteen approved this.

1 should have never been charged let alone convicted of Mail Frauds in Counts 8 and 14
because it’s proven in the Grand Jury Indictment l didn’t even send or receive these UPS or Fed
Ex packages that l was charged and convicted of.

l should have never been charged or convicted in Count 18 either, because l had nothing
to do with receiving money from clients for Health lnsurance and wasn’t approved on the
banking account at all to write checks, transfer money or take money out of the account at Bank
of America.

The United States of America never proved or could they prove any of my charges or
convictions has been proven.

My restitution amount is definitely not in my Grand Jury Indictment or Plea Agreement
Contract Bargain. All of this information is in Attachments 61 & 62. Also on Attachment 2 on
Page 5 of 6 it specifically says my restitution amount of $4,565,477.70 must be committed on or
after September 13, 1994 but before April 24, 1996. None of my charges or convictions in my
only Grand Jury Indictment occurred after September 13, 1994 but before April 24, 1996. lust
read Counts 8, 14, 18, and 20 my convictions

Last, my aggregate of $2,650,829.73 definitely doesn’t constitute the United States of

America enough proceeds to keep my total aggregate amount or forfeiture of the property that

was valued at $3,897,470 by the United States of America in my Grand Jury Indictment and

 

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Presentence Investigation Report because my total Forfeiture Allegations only comes to from
Counts 8, 14, 18, and 20 was 3150,829.73 my only convictions was Counts 8, 14, 18, and 20 that
creates all of my criminal violations

This Notice is Steven E. Edwards recommendation to prevent him from having to file a
lawsuit against the United States of America in an excess of $50,000,000.

Within 14 days after being served with a copy of the recommended settlement a party
may serve and tile specitic, written objections to the proposed findings and recommendations
You are hereby notified that unless written objections to the Respondent, Steven E. Edwards are
served and filed as provided in the Federal rules, Steven E. Edwards will be forced to tile a
lawsuit against the United States of America. Pursuant to Fed. R. Civ. P. 72(b), 6(a) and 6(e).
Setting up a hearing very soon is recommended by Steven. E. Edwards on June 26, 2017.

Whoever is now involved in my case needs to know I have had a lot of phone

conversations with the Departrnent of Justice Attorney in Washington, DC, Joshua A.

Mandlebaum, maybe you should call him 202-3 05-3091.

c sta/5 ana

§teven E. Edwards

615 Pine Street
Wellsville, Kansas 66092
Phone: 649-359~4913
Defendant

 

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